       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 1 of 80




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                   )
TIFFANY WILLIAMS, DOREEN WALKER,                   )
APRIL MCKEEL, MICHAELA CAPERNA,                    )   Civil Action No.: 2:18-cv-01353
LOIS WILLIAMS, INEZ RATCLIFF,                      )
SAMANTHA HUTTON, NICOLE LEO,                       )
JOANNE PEABODY, CHRISTINA TURNER,                  )   SECOND AMENDED
BRITTANY WILLIS, REGINA JENSEN,                    )   CONSOLIDATED MASTER
VICKIE RASH, REBECCA BAILEY, JAMES                 )   COMPLAINT - CLASS AND
WOODWORTH on behalf of themselves and all          )   COLLECTIVE
others similarly situated,                         )   ACTION
                                                   )
                             Plaintiffs,           )   JURY TRIAL DEMANDED
                                                   )
              v.                                   )
                                                   )
BOB EVANS FARMS, INC.; BOB EVANS                   )
FARMS, LLC; BOB EVANS RESTAURANTS,                 )
LLC.; and DOE DEFENDANTS 1-10,

                             Defendants.


       Plaintiffs Tiffany Williams (“Williams”), Doreen Walker (“Walker”), April McKeel

(“McKeel”), Michaela Caperna (“Caperna”), Lois Williams (“L. Williams”), Inez Ratcliff

(“Ratcliff”), Samantha Hutton (“Hutton”), Nicole Leo (“Leo”), Joanne Peabody (“Peabody”),

Christina Turner (“Turner”), Brittany Willis (“Willis”), Regina Jensen (“Jensen”), Vickie Rash

(“Rash”), Rebecca Bailey (“Bailey”), and James Woodworth (collectively, “Plaintiffs”), on

behalf of themselves and all others similarly situated, allege as follows in this Second Amended

Consolidated Master Complaint (“Complaint”)1:

                                      INTRODUCTION

       1.     This is a class and collective action brought on behalf of “Tipped Employees”

who work or have worked at restaurants operating under the trade name Bob Evans that are/were

1
 Plaintiffs file this Second Amended Consolidated Master Complaint pursuant to stipulation
with Defendants (ECF#128).
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 2 of 80




owned and operated and/or managed by Defendants Bob Evans Farms, Inc., Bob Evans Farms,

LLC, and Bob Evans Restaurants LLC, (collectively, “Defendants” or “Bob Evans”), and have

been subject to the unlawful practices detailed herein.

       2.      Upon information and belief, the employment practices complained of herein

occurred at all of Bob Evans locations at issue, as Defendants utilized common labor policies and

practices at each of their locations. Accordingly, Defendants are responsible for the employment

practices complained of herein.

       3.      Bob Evans is a nationwide chain of family style restaurants founded and

headquartered in Columbus, Ohio, which owns and operates all of its restaurants.

       4.      According to the Company’s website, Bob Evans “owns and operates over 500

locations in 18 states, primarily in the Midwest, mid-Atlantic and Southeast regions of the United

States.” See https://www.bobevans.com/about-us/our-company (last visited November 20, 2018).

       5.      Notably, Bob Evans has at least 50 restaurant locations in Ohio, 34 restaurant

locations in Pennsylvania, 20 restaurant locations in both West Virginia and Maryland, 13

locations in Michigan, 10 restaurant locations in Illinois, and at least five restaurant locations in

New York.

       6.      Bob Evans employs individuals in a tipped capacity, namely “servers” (“waiters

and “waitresses”) or “bussers” (collectively, “Tipped Employees”), who are and/or were

subjected to Defendants’ unlawful pay practices.

       7.      As set forth below, Defendants have a policy or practice of paying these

employees a sub-minimum hourly wage under the tip-credit provisions of the FLSA and related

state wage and hour laws, despite not complying with all the necessary requirements in order to

properly claim a tip-credit and pay less than the full minimum wage.




                                                 2
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 3 of 80




       8.      As Tipped Employees, these individuals worked as “front of house” employees –

e.g., interacting with Defendants’ customers/patrons. Tipped Employees accomplished their job

duties by, among other things, taking customers’ orders, serving customers their food, and/or

cleaning the customers’ tables so that new customers can be seated and served.

       9.      As explained in detail below, despite Bob Evans’ purported success, it

systematically and willfully deprived Plaintiffs and Tipped Employees all wages due and owing

in violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., (“FLSA”).

       10.     Defendants violated the FLSA by, among other things, failing to satisfy the notice

requirements of the tip credit provisions of these laws. In addition, Defendants also violated the

FLSA by failing to pay Plaintiffs and its Tipped Employees the full minimum wage when

performing non-tip generating work unrelated to their principal job as a Tipped Employee and/or

spent more than twenty percent (20%) of their time performing non-tipped work that was related

to tip-generating work.

       11.     Moreover, Defendants also violated the FLSA by failing to calculate and pay

Tipped Employees the proper overtime rate due and owing for weeks when Tipped Employees

worked in in excess of forty (40) hours that work week.

       12.     In addition, Defendants’ actions/inactions also violated certain state wage and

hour laws, including the Article II, § 34A of the Ohio Constitution and the Ohio Minimum Fair

Wage Standard Act (“MFWSA”), Pennsylvania Minimum Wage Act (“PMWA”), 43 P.S. §

333.101, et seq., and the Wage Payment and Collection Law, 43 Pa. S. § 260.1, et seq.,

(“WPCL”), the West Virginia Wage Payment and Collection Act (“WVWPCA”), W. Va. Code §

21-5 et seq., the West Virginia Minimum Wage and Maximum Hours Standards Act

(“WVMWMHS”), W. Va. Code § 21-5C et seq., the Maryland Wage and Hour Law,




                                                3
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 4 of 80




(“MWHL”), Md. Code Ann., Labor & Employment, §3-401 et seq., the Maryland Wage

Payment and Collection Law (“MWPCL”), Md. Code Ann., Labor & Employment, §3-501 et

seq., the Michigan Workforce Opportunity Act (“MWOWA”), MCL § 408.411 et seq, the New

York Minimum Wage Act, Article 19, § 650 et seq., the Illinois Minimum Wage Law

(“IMWL”), 820 ILCS 105 et seq, New York State Department of Labor Regulations, including,

but not limited to, 12 N.Y.C.R.R. §137-2.2 and §146.2-2, New York Labor Law (“NYLL”) §

195(3) as amended by the New York Wage Theft Prevention Act.

       13.     Defendants violated Article II, § 34A of the Ohio Constitution and the Ohio

MFWSA (collectively, “OH State Laws”) when they: (i) failed to provide proper tip credit

notification; (ii) required Plaintiff Bailey and other Tipped Employees to perform numerous job

duties when there was no possibility for that employee to generate tips, such as before the

restaurant opened or after it had closed or when a Tipped Employee was “cut” for the night (e.g.,

they were no longer responsible for serving customers and instead had to perform solely

cleaning/stocking work); and (iii) failed to pay the proper overtime rate. This is in contravention

of applicable Ohio state law. Defendants violated the minimum wage provisions of the Ohio

MFWSA, § 4111.01 (A), as Plaintiff Bailey and members of the Ohio Class were consistently and

uniformly not paid the applicable minimum wage or overtime pay for all the work they performed

during the course of their employment with Defendants. Defendants’ unlawful conduct was neither

inadvertent, nor de minimis, but widespread, repeated and part of a pattern and practice of conduct

affecting Plaintiff Bailey and all members of the Ohio Class.

       14.     Defendants violated the PMWA and WPCL (collectively, “PA State Laws”) when

they: (i) failed to provide proper tip credit notification; (ii) required Plaintiffs Williams, Walker,

McKeel and other Tipped Employees to perform numerous job duties when there was no

possibility for that employee to generate tips, such as before the restaurant opened or after it had


                                                  4
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 5 of 80




closed or when a Tipped Employee was “cut” for the night (e.g., they were no longer responsible

for serving customers and instead had to perform solely cleaning/stocking work); and (iii) failed

to pay the proper overtime rate. This is in contravention of applicable Pennsylvania state law.

         15.   Defendants violated the WVWPCA by failing to pay Plaintiffs Jensen and Rash

and other Tipped Employees all wages due and owing within the time periods mandated at the

conclusion of their employment with Defendants. Defendants also violated the WVMWMHS by

failing to pay Plaintiff Jensen and Rash and other Tipped Employees the proper wages due and

owing.2

         16.   Defendants violated the MWHL and MWPCL (collectively, “MD State Laws”)

when they: (i) failed to provide proper tip credit notification; and (ii) required Plaintiff Hutton,

Leo and other Tipped Employees to perform numerous job duties when there was no possibility

for that employee to generate tips, such as before the restaurant opened or after it had closed or

when a Tipped Employee was “cut” for the night (e.g., they were no longer responsible for

serving customers and instead had to perform solely cleaning/stocking work).

         17.   Defendants violated the MWOWA (“MI State Law”) when they: (i) failed to

provide proper tip credit notification to Plaintiff Peabody and other Tipped Employees; and (ii)

required Plaintiff Peabody and other Tipped Employees to perform numerous job duties when

there was no possibility for that employee to generate tips, such as before the restaurant opened

or after it had closed or when a Tipped Employee was “cut” for the night (e.g., they were no

longer responsible for serving customers and instead had to perform solely cleaning/stocking

work).




2
  The WVWPCA and the WVMWMHS are collectively referred to herein as “West Virginia
State Laws”


                                                 5
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 6 of 80




       18.     Defendants violated the IMWL when they: (i) failed to provide proper tip credit

notification; (ii) required Plaintiff James Woodworth and other Tipped Employees to perform

numerous job duties when there was no possibility for that employee to generate tips, such as

before the restaurant opened or after it had closed or when a Tipped Employee was “cut” for the

night (e.g., they were no longer responsible for serving customers and instead had to perform

solely cleaning/stocking work); and (iii) failed to pay the proper overtime rate. This is in

contravention of applicable Illinois state law. Defendants violated the minimum wage and overtime

provisions of the IMWL as Plaintiff Woodworth and members of the Illinois Class were consistently

and uniformly not paid the applicable minimum wage for all the work they performed during the

course of their employment with Defendants. Defendants’ unlawful conduct was neither inadvertent,

nor de minimis, but widespread, repeated and part of a pattern and practice of conduct affecting

Plaintiff Woodworth and all members of the Illinois Class. Defendants violated the IWPCA when

they deducted expenses from the Plaintiff’s and the IIlinois IWPCA Class’s wages without

authorization in violation of 820 ILCS 115/9.

       19.     Defendants violated the New York Minimum Wage Act, Article 19, § 650 et seq.,

New York State Department of Labor Regulations, including, but not limited to, 12 N.Y.C.R.R.

§137-2.2 and §146.2-2, New York Labor Law (“NYLL”) § 195(3) as amended by the New York

Wage Theft Prevention Act (collectively, “NY State Laws”) when they: (i) failed to provide

proper tip credit notification; and (ii) required Plaintiff Willis and other Tipped Employees to

perform numerous job duties when there was no possibility for that employee to generate tips,

such as before the restaurant opened or after it had closed or when a Tipped Employee was “cut”

for the night (e.g., they were no longer responsible for serving customers and instead had to

perform solely cleaning/stocking work).




                                                6
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 7 of 80




          20.   As a result of the aforementioned pay practices, Plaintiffs and the members of the

Classes (defined below) were illegally under-compensated for their work.

                                    SUMMARY OF CLAIMS

          21.   Plaintiffs bring this action as a collective action to recover unpaid wages, pursuant

to the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq. (“FLSA” or the

“Act”).

          22.   In particular, Plaintiffs bring this suit on behalf of the following similarly situated

persons:

                All current and former Tipped Employees who have worked for
                Defendants in the United States within the statutory period covered by this
                Complaint, and elect to opt-in to this action pursuant to the FLSA, 29
                U.S.C. § 216(b) (the “Collective Class”).

          23.   In addition, Plaintiffs McKeel and Caperna also bring this suit on behalf of the

following similarly situated persons for unpaid overtime wages pursuant to the FLSA:

                All current and former Tipped Employees who have worked in excess of
                forty hours in one or more work weeks for Defendants in the United States
                and were not compensated at one and a half time the applicable hourly
                wage rate within the statutory period covered by this Complaint, and elect
                to opt-in to this action pursuant to the FLSA, 29 U.S.C. § 216(b) (the
                “Collective OT Class”).

          24.   Plaintiff Bailey brings this suit on behalf of a class of similarly situated persons

composed of:

                All current and former Tipped Employees who have worked for
                Defendants in the State of Ohio during the statutory period covered by this
                Complaint and who do not opt-out of this action (the “OH Class”).

          25.   Plaintiff Bailey brings this suit on behalf of a class of similarly situated persons

composed of:

                All current and former Tipped Employees who have worked in excess of
                forty hours in one or more work weeks for Defendants in the State of Ohio



                                                  7
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 8 of 80




               and were not compensated at one and a half times the applicable hourly
               wage rate during the statutory period covered by this Complaint and who
               do not opt-out of this action (the “OH OT Class”).

       26.     Plaintiffs Williams, Walker, and McKeel also bring this action as a state-wide

class action to recover unpaid wages pursuant to the PA State Laws.

       27.     Specifically, Plaintiffs Williams, Walker, and McKeel bring this suit on behalf of

a class of similarly situated persons composed of:

               All current and former Tipped Employees who have worked for
               Defendants in the Commonwealth of Pennsylvania during the statutory
               period covered by this Complaint and who do not opt-out of this action
               (the “PA Class”).

       28.     In addition, Plaintiff McKeel also brings this suit on behalf of a class of similarly

situated persons for unpaid overtime wages pursuant to the PA State Laws:

               All current and former Tipped Employees who have worked in excess of
               forty hours in one or more work weeks for Defendants in the
               Commonwealth of Pennsylvania and were not compensated at one and a
               half times the applicable hourly wage rate during the statutory period
               covered by this Complaint and who do not opt-out of this action (the “PA
               OT Class”).

       29.     Plaintiffs Jensen and Rash also bring this suit on behalf of a class of similarly

situated persons for unpaid wages pursuant to the WV State Law:

               All Tipped Employees who were employed by Defendants in West
               Virginia who left Defendants’ employment and were not paid all wages on
               the last date of employment or by the next regular payday during the
               statutory period covered by this Complaint and who do not opt-out of this
               action (the “WV Class”).

       30.     Plaintiffs Jensen and Rash also bring this suit on behalf of a class of similarly

situated persons for unpaid minimum wages pursuant to the WV State Laws:

               All current and former Tipped Employees who have worked for
               Defendants in the State of West Virginia during the statutory period
               covered by this Complaint and who do not opt-out of this action (the “WV
               MW Class”).



                                                 8
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 9 of 80




       31.    Plaintiff Hutton and Leo also brings this suit on behalf of a class of similarly

situated persons composed of:

              All current and former Tipped Employees who have worked for
              Defendants in the State of Maryland during the statutory period covered
              by this Complaint and who do not opt-out of this action (the “MD Class”).

       32.    Plaintiff James Woodworth brings this suit on behalf of a class of similarly

situated persons composed of:

              All current and former Tipped Employees who have worked for
              Defendants in the State of Illinois during the statutory period covered by
              this Complaint and who do not opt-out of this action (the “IL Class”).

       33.    In addition, Plaintiff Woodworth also brings this suit on behalf of a class of

similarly situated persons for unpaid overtime wages pursuant to the IL State Laws:

              All current and former Tipped Employees who have worked in excess of
              forty hours in one or more work weeks for Defendants in the State of
              Illinois and were not compensated at one and a half times the applicable
              hourly wage rate during the statutory period covered by this Complaint
              and who do not opt-out of this action (the “IL OT Class”).

       34.    In addition, Plaintiff Woodworth also brings this suit on behalf of a class of

similarly situated persons for deductions from wages in violation 820 ILCS 115/9 consisting of:

              All current and former Tipped Employees who have had the cost of
              uniforms deducted from their wages and who did not provide written
              express written consent, freely given at the time the deduction was made.

       35.    Plaintiff Peabody also brings this suit on behalf of a class of similarly situated

persons composed of:

              All current and former Tipped Employees who have worked for
              Defendants in the State of Michigan during the statutory period covered
              by this Complaint and who do not opt-out of this action (the “MI Class”).

       36.    Plaintiff Willis also brings this suit on behalf of a class of similarly situated

persons composed of:



                                               9
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 10 of 80




              All current and former Tipped Employees who have worked for
              Defendants in the State of New York during the statutory period covered
              by this Complaint and who do not opt-out of this action (the “NY Class”).

       37.    The Collective Class, the Collective OT Class, the OH class, the OH OT Class,

the PA Class, the PA OT Class, the WV Class, the WV MW Class, the MD Class, the MI Class,

the IL Class, the IL OT Class and the NY Class are hereafter collectively referred to as the

“Classes.”

       38.    Plaintiffs allege on behalf of the Collective Class that they are: (i) entitled to

unpaid minimum wages from Defendants for hours worked for which Defendants failed to

comply with the notice provisions of the tip credit and pay the mandatory minimum wage, as

required by law; (ii) entitled to unpaid minimum wages from Defendants for hours worked

performing duties unrelated to their direct customer service duties; (iii) entitled to unpaid

minimum wages from Defendants for hours worked where they spent in excess of 20% of their

time performing non-tipped work that was related to their tipped occupation; and (iv) entitled to

liquidated damages pursuant to the FLSA, 29 U.S.C. § 201 et seq.

       39.    Plaintiffs McKeel and Caperna allege on behalf of the Collective OT Class that

they are: (i) entitled to unpaid overtime wages from Defendants for hours worked for which

Defendants failed to calculate the proper overtime rate and (ii) entitled to liquidated damages

pursuant to the FLSA, 29 U.S.C. § 201 et seq.

       40.    Plaintiff Bailey alleges on behalf of the OH Class that Defendants violated the

OH State Law by failing to pay all timely wages due and owing at the end of Plaintiff and

members of the OH Class’s employment with Defendants.




                                                10
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 11 of 80




       41.     Plaintiff Bailey alleges on behalf of the OH MW Class that Defendants violated

the OH State Laws by failing to comply with the tip credit provisions, as required by law, and

consequently failed to pay them the appropriate minimum wages for all hours worked.

       42.     Plaintiffs Williams, Walker, and McKeel allege on behalf of the PA Class that

Defendants violated PA State Laws by failing to comply with the tip credit provisions, as

required by law, and consequently failing to pay them the appropriate minimum wages for all

hours worked. In addition, Defendants also violated PA State Laws by failing to pay PA Class

members the full minimum wage for time spent performing non-tip generating work.

       43.     Plaintiff McKeel alleges on behalf of the PA OT Class that Bob Evans violated

PA State Laws by failing to calculate and pay the proper overtime rate for weeks where Tipped

Employees worked in excess of forty (40) hours working in a single workweek.

       44.     Plaintiffs Jensen and Rash allege on behalf of the WV Class that Defendants

violated the WV State Law by failing to pay all timely wages due and owing at the end of

Plaintiff and members of the WV Class’s employment with Defendants.

       45.     Plaintiffs Jensen and Rash allege on behalf of the WV MW Class that Defendants

violated the WV State Laws by failing to comply with the tip credit provisions, as required by

law, and consequently failed to pay them the appropriate minimum wages for all hours worked.

       46.     Plaintiff Hutton alleges on behalf of the MD Class that Defendants violated the

MD State Laws by, inter alia,: (i) failing to comply with the tip credit provisions, as required by

law, and consequently failed to pay them the appropriate minimum wages for all hours worked;

(ii) failing to pay all timely wages due and owing; and (iii) failing to pay the full minimum wage

for time spent performing non-tip generating work.




                                                11
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 12 of 80




       47.     Plaintiff Peabody alleges on behalf of the MI Class that Defendants violated the

MI State Law by failing to comply with the tip credit provisions, as required by law, and

consequently failing to pay them the appropriate minimum wages for all hours worked.

       48.     Plaintiff Woodworth alleges on behalf of the IL Class that Defendants violated the

IL State Law by failing to pay all timely wages due and owing at the end of Plaintiff

Woodworth’s and members of the IL Class’s employment with Defendants.

       49.     Plaintiff Woodworth alleges on behalf of the IL MW Class that Defendants

violated the IL State Laws by failing to comply with the tip credit provisions, as required by law,

and consequently failed to pay them the appropriate minimum wages for all hours worked.

       50.     Plaintiff Woodworth alleges on behalf of the IL IWPCA Class that Defendants

violated IL State Laws by failing to comply with the wage deduction provisions, as required by

law, and consequently failed to pay them the appropriate wages.

       51.     Plaintiff Willis alleges on behalf of the NY Class that Defendants violated the NY

State Laws by, inter alia,: (i) failing to comply with the tip credit provisions, as required by law,

and consequently failing to pay them the appropriate minimum wages for all hours worked and

(ii) failing to pay the full minimum wage for time spent performing non-tip generating work.

                                            PARTIES

Plaintiff Tiffany Williams

       52.     Plaintiff Tiffany Williams (“Williams”) is a resident of the Commonwealth of

Pennsylvania, residing in Allegheny County, who was employed by Bob Evans as a “server” at

its Monroeville restaurant (located at 3737 William Penn Highway, Monroeville, Pennsylvania

15146 – “Monroeville Restaurant”). While employed as a server, Defendants failed to

compensate Plaintiff properly for all hours worked.




                                                 12
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 13 of 80




        53.     Plaintiff Williams worked at the Monroeville Restaurant from approximately

October 1, 2017 through approximately February 28, 2018 and was paid an hourly wage rate of

$2.83 per hour irrespective of the amount of tips she earned or the type of work she performed.

        54.     Defendants employed Plaintiff Williams to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        55.     Pursuant to Section 216(b) of the FLSA, Plaintiff Williams has previously

consented in writing to be a plaintiff in this action.

Plaintiff Doreen Walker

        56.     Plaintiff Doreen Walker (“Walker”) is a resident of the Commonwealth of

Pennsylvania, residing in Allegheny County, who was employed by Bob Evans as a “server” at

its West Mifflin restaurant (located at 2210 Lebanon Church Road, West Mifflin, Pennsylvania

15122 – “West Mifflin Restaurant”). While employed as a server, Defendants failed to

compensate Plaintiff properly for all hours worked.

        57.     Plaintiff Walker worked at the West Mifflin Restaurant from approximately 2002

through 2017. Since 2105, Plaintiff Walker recalls being paid an hourly wage rate of $2.83 per

hour by Defendants irrespective of the amount of tips she earned or the type of work she

performed

        58.     Defendants employed Plaintiff Walker to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        59.     Pursuant to Section 216(b) of the FLSA, Plaintiff Walker has previously

consented in writing to be a plaintiff in this action.




                                                  13
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 14 of 80




Plaintiff April McKeel

        60.     Plaintiff April McKeel is a resident of the Commonwealth of Pennsylvania who

was employed by Bob Evans as a “server” at its New Stanton restaurant (located at 104 Bair

Blvd. New Stanton, PA 15672 -- “New Stanton Restaurant”). While employed as a server,

Defendants failed to compensate Plaintiff McKeel properly for all hours worked.

        61.     Plaintiff McKeel worked at the New Stanton Restaurant from approximately July

2017 to February 2018 and was paid an hourly wage rate of $2.83 per hour irrespective of the

amount of tips she earned or the type of work she performed.

        62.     Defendants employed Plaintiff McKeel to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        63.     Plaintiff McKeel recalls several instances when she worked a shift at Bob Evans

and earned less than the minimum wage per hour when she combined her tips with her hourly

wage.

        64.     Pursuant to Section 216(b) of the FLSA, Plaintiff McKeel has previously

consented in writing to be a plaintiff in this action.

Plaintiff Michaela Caperna

        65.     Plaintiff Michaela Caperna (“Caperna”) is a resident of the State of Tennessee

who was employed by Bob Evans as a “server” at its Centerville restaurant (located at 5525

Wilmington Pike, Centerville, Ohio 45459 – “Centerville Restaurant”) and its Nashville

restaurant (located at 200 Rudy Circle, Nashville, Tennessee 37215 -- “Nashville Restaurant”).

While employed as a server, Defendants failed to compensate Plaintiff Caperna properly for all

hours worked.




                                                  14
           Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 15 of 80




           66.      Plaintiff Caperna worked at the Centerville Restaurant from approximately 2013

to approximately September 30, 2016 and was paid an hourly wage of $4.08 per hour in 2016

irrespective of the amount of tips she earned or the type of work she performed until she

transferred to the Nashville Restaurant on approximately October 1, 2016.

           67.      Plaintiff Caperna worked at the Nashville Restaurant from approximately October

1, 2016 to approximately June 9, 2018 and was paid an hourly wage rate of $2.13 per hour

irrespective of the amount of tips she earned or the type of work she performed.

           68.      Defendants employed Plaintiff Caperna to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

           69.      Pursuant to Section 216(b) of the FLSA, Plaintiff Caperna has previously

consented in writing to be a plaintiff in this action.

Plaintiff Lois Williams

           70.      Plaintiff Lois Williams (“L. Williams”) is a resident of the State of West Virginia

who was employed by Bob Evans as a “server” at its Unit 258 Beckley, West Virginia restaurant

(located at 102 Harper Park Dr, Beckley, WV 25801 -- “Beckley Restaurant”) While employed

as a server, Defendants failed to compensate Plaintiff L. Williams properly for all hours worked.

           71.      Plaintiff L. Williams worked at the Beckley Restaurant from approximately 1998

to February 2017 and, since 2016, was paid an hourly wage rate of $2.62 per hour irrespective of

the amount of tips she earned or the type of work she performed.3

           72.      Defendants employed Plaintiff L. Williams to perform various tipped and non-

tipped duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.
3
    In 2015, Plaintiff L. Williams was paid a cash wage of $2.40 per hour.


                                                           15
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 16 of 80




        73.     Pursuant to Section 216(b) of the FLSA, Plaintiff L. Williams has previously

consented in writing to be a plaintiff in this action.

Plaintiff Inez Ratcliff

        74.     Plaintiff Inez Ratcliff (“Ratcliff”) is a resident of the State of West Virginia who

was employed by Bob Evans as a “server” at its Unit Number 24 restaurant (located at 4001

MacCorkle Ave SW, South Charleston, WV 25309 -- “South Charleston Restaurant”). While

working as a server, Defendants failed to compensate Plaintiff Ratcliff properly for all hours

worked.

        75.     Plaintiff Ratcliff worked at the South Charleston Restaurant from approximately

March 1995 until July of 2006 and then again from May of 2007 through February 2018. Since

2016, Plaintiff Ratcliff believes she was paid an hourly wage rate of $2.13 per hour irrespective

of the amount of tips she earned or the type of work she performed while she was clocked in as a

server.4

        76.     Defendants employed Plaintiff Ratcliff to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        77.     Pursuant to Section 216(b) of the FLSA, Plaintiff Ratcliff has previously

consented in writing to be a plaintiff in this action.

Plaintiff Samantha Hutton

        78.     Plaintiff Samantha Hutton (“Hutton”) is a resident of the State of Maryland who

was employed by Bob Evans as a “server” at its Waldorf, Maryland restaurants (located at 2355

Crain Highway, Waldorf, Maryland 20601 and 3345 Crain Highway, Waldorf, Maryland 20603 -

4
 According to the best of her recollection, in 2015, Plaintiff Ratcliff was paid a cash wage of
$2.40 per hour, while in 2014 she was paid a cash wage of $5.80.


                                                  16
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 17 of 80




- “Waldorf Restaurant”). While employed as a server, Defendants failed to compensate Plaintiff

Hutton properly for all hours worked.

        79.     Plaintiff Hutton began working for Bob Evans as a server in approximately

November 2016 at the Bob Evans restaurant located on 2355 Crain Highway, Waldorf, Maryland

20601 until it closed in 2017. She worked at the Bob Evans on 2601 N. Salisbury Boulevard,

Salisbury, MD 21801 for approximately two months. In 2018, she started working at the Bob

Evans on 3345 Crain Highway, Waldorf, Maryland 20603. As a server, she believes she was

paid an hourly wage rate of $3.63 per hour irrespective of how little tips she earned or the type of

work she performed.

        80.     Defendants employed Plaintiff Hutton to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        81.     Pursuant to Section 216(b) of the FLSA, Plaintiff Hutton has previously

consented in writing to be a plaintiff in this action.

Plaintiff Nicole Leo

        82.     Plaintiff Nicole Leo (“Leo”) is a resident of the State of Maryland who was

employed by Bob Evans as a “server” at its Germantown, Maryland restaurant (located at 21044

Frederick Rd, Germantown, MD 20876 -- “Germantown Restaurant”). While employed as a

server, Defendants failed to compensate Plaintiff Leo properly for all hours worked.

        83.     Plaintiff Leo worked at the Germantown Restaurant from approximately 2013 to

November 2016 and was paid an hourly wage rate of $3.63 per hour irrespective of how little

tips she earned or the type of work she performed.




                                                  17
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 18 of 80




        84.     Defendants employed Plaintiff Leo to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        85.     Pursuant to Section 216(b) of the FLSA, Plaintiff Leo has previously consented in

writing to be a plaintiff in this action.

Plaintiff Joanne Peabody

        86.     Plaintiff Joanne Peabody (“Peabody”) is a resident of the State of Michigan who

was employed by Bob Evans as a “server” at its Madison Heights restaurant (located at 32701

Concord Drive, Madison Heights, Michigan 48071 -- “Madison Heights Restaurant”). While

employed as a server, Defendants failed to compensate Plaintiff Peabody properly for all hours

worked.

        87.     Plaintiff Peabody worked at the Madison Heights Restaurant from approximately

August 2016 to October 2018 and was paid an hourly wage rate of $3.52 per hour irrespective of

the amount of tips she earned or the type of work she performed.

        88.     Defendants employed Plaintiff Peabody to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        89.     Pursuant to Section 216(b) of the FLSA, Plaintiff Peabody has previously

consented in writing to be a plaintiff in this action.

Plaintiff Brittany Willis

        90.     Plaintiff Brittany Willis (“Willis”) is a resident of the State of Ohio who was

employed by Bob Evans as a “server” at both its New Philadelphia, Ohio restaurant (located at

311 Graff Rd SE, New Philadelphia, OH 44663, “New Philadelphia Restaurant”) and its




                                                  18
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 19 of 80




Amherst restaurant (located at 1925 Niagara Fall Blvd., Amherst, New York 14228 “Amherst

Restaurant”). While employed as a server, Defendants failed to compensate Plaintiff Willis

properly for all hours worked.

        91.     Plaintiff Willis worked at the New Philadelphia Restaurant from approximately

October 2016 to approximately May 2017 and then again from approximately November 2017 to

the present.

        92.     In 2017, 2018 and presently, Plaintiff Willis believes she was paid an hour wage

of $4.15, $4.30 and $4.45 respectively, irrespective of how little tips she earned or the type of

work she perform.

        93.     Plaintiff Willis worked at the Amherst Restaurant from approximately May 2017

to November 2017 and was paid an hourly wage rate of $7.50 per hour irrespective of how little

tips she earned or the type of work she performed.

        94.     Defendants employed Plaintiff Willis to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        95.     Pursuant to Section 216(b) of the FLSA, Plaintiff Willis has previously consented

in writing to be a plaintiff in this action.

Plaintiff Christina Turner

        96.     Plaintiff Christina Turner (“Turner”) is a resident of the State of Maryland who

was employed by Bob Evans as a “server” at its Unit 359 restaurant (located at 8670 Veterans

Memorial Parkway, O’Fallon, Missouri 63366 -- “O’Fallon Restaurant”). While employed as a

server, Defendants failed to compensate Plaintiff Turner properly for all hours worked.




                                               19
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 20 of 80




        97.     Plaintiff Turner worked at the O’Fallon Restaurant from approximately October

1999 to October 2017 and was paid an hourly wage rate of $3.68 per hour during her last year,

irrespective of how little tips she earned or the type of work she performed.

        98.     Defendants employed Plaintiff Turner to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        99.     Pursuant to Section 216(b) of the FLSA, Plaintiff Turner has previously consented

in writing to be a plaintiff in this action.

Plaintiff Regina Jensen

        100.    Plaintiff Jensen worked as a server for Defendants for over 20 years including at

Bob Evans’ “Traffic Circle” location in Parkersburg, West Virginia through approximately

March, 2018.

        101.    Plaintiff Jensen was paid an hourly wage rate of approximately $2.62 an hour

during her last year, irrespective of the tips earned or the nature of the work performed.

        102.    Defendants employed Plaintiff Jensen to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        103.    Pursuant to Section 216(b) of the FLSA, Plaintiff Jensen has previously consented

in writing to be a plaintiff in this action.

Plaintiff Vickie Rash

        104.    Plaintiff Rash worked as a server for Defendants for approximately 28 years on

and-off including at Bob Evans’ “Traffic Circle” location in Parkersburg, West Virginia through

approximately February, 2018.




                                                 20
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 21 of 80




        105.    Plaintiff Rash was paid an hourly wage rate of approximately $2.62 an hour

during her last year, irrespective of the tips earned or the nature of the work performed.

        106.    Defendants employed Plaintiff Rash to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        107.    Pursuant to Section 216(b) of the FLSA, Plaintiff Rash has previously consented

in writing to be a plaintiff in this action.

Plaintiff Rebecca Bailey

        108.    Plaintiff Bailey worked as a server at the Bob Evans restaurant in Athens, Ohio

on-and-off for approximately 28 years until mid-July, 2016.

        109.    Plaintiff Bailey was paid an hourly wage rate of approximately $4.18 an hour

during her last year, irrespective of the tips earned or the nature of the work performed.

        110.    Defendants employed Plaintiff Bailey to perform various tipped and non-tipped

duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

        111.    Pursuant to Section 216(b) of the FLSA, Plaintiff Bailey has previously consented

in writing to be a plaintiff in this action.

Plaintiff James Woodworth

        112.    Plaintiff Woodworth has worked as a server for Defendants at the Bob Evans

restaurant in Champaign, Illinois for approximately 10 years.

        113.    Plaintiff Woodworth was paid an hourly wage rate of approximately $4.95 an

hour during her last year, irrespective of the tips earned or the nature of the work performed.




                                                 21
         Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 22 of 80




         114.    Defendants employed Plaintiff Woodworth to perform various tipped and non-

tipped duties, including, but not limited to, serving drinks and food to customers, cleaning the

restaurant, busing tables, washing dishes, preparing food and other side work.

         115.    Pursuant to Section 216(b) of the FLSA, Plaintiff Woodworth has previously

consented in writing to be a plaintiff in this action.

Defendants

         116.    Defendant Bob Evans Farms, Inc. (“BEF, Inc.”) is a publicly traded Delaware

corporation that is the parent corporation of Bob Evans Farms, LLC.

         117.    Defendant Bob Evans Farms, LLC (“BEF, LLC”) is an Ohio limited liability

company and a wholly-owned subsidiary of BEF, Inc.

         118.    Upon information and belief, BEF, Inc. and BEF, LLC owned all the Bob Evans

Restaurants through at least April 28, 2017. During the statutory period covered by this

Complaint BEF, Inc. and BEF, LLC have transacted business within this District.

         119.    At material times as alleged in this Complaint, Defendants BEF, Inc. and BEF,

LLC were the employers of the Tipped Employees of the Bob Evans restaurants, as defined by

the FLSA. 29 U.S.C. § 203(d)

         120.    Defendant Bob Evans Restaurants, LLC (“BER, LLC”) is a Delaware limited

liability company that is wholly owned by the San Francisco-based private equity firm Golden

Gate Capital. Golden Gate Capital is a private equity firm based in San Francisco, California. 5

Golden Gate Capital operates as a private holdings company and includes the Bob Evans

restaurant chain, operating as Bob Evans Restaurants, LLC, as part of its investment portfolio.6




5
    https://www.goldengatecap.com (last visited April 11, 2019).
6
    https://www.goldengatecap.com/verticals/consumer/ (last visited April 11, 2019).


                                                  22
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 23 of 80




BER was duly organized in Delaware on January 10, 2017. It first registered to do business in

Ohio as a foreign limited liability company on February 21, 2017.

       121.    Upon information and belief, Defendant BER, LLC currently owns and operates

the chain of Bob Evans Restaurants located across the United States. BER, LLC maintains its

corporate office at 8111 Smith’s Mill Road, New Albany, Ohio 43054. In addition, BER, LLC

maintains the website “www.bobevans.com.” During the statutory period covered by this

Complaint, Defendant Bob Evans Restaurants has transacted business within this District.

       122.    Plaintiff is unaware of the names and the capacities of those defendants sued as

DOES 1 through 10 but will seek leave to amend this Complaint once their identities become

known to Plaintiff. Plaintiff believes there are additional entities employing Tipped Employees

that have not yet been identified. Upon information and belief, Plaintiff alleges that at all

relevant times each defendant was the officer, director, employee, agent, representative, alter

ego, or co-conspirator of each of the Defendants. In engaging in the alleged conduct herein,

defendants acted in the course, scope of, and in furtherance of the aforementioned relationship.

       123.    Defendants BEF, Inc., BEF, LLC, BER, LLC and Doe Defendants 1 through 10

are collectively referred to herein as “Defendants.”

       124.    During the statutory period covered by this Complaint, Defendants have operated

as a “single enterprise” within the definition of Section 203(r)(1) of the FLSA. Defendants

uniformly operated the Bob Evans restaurants throughout the country under common control for

a common business purpose.

       125.    Defendants are/were engaged in related activities, e.g., activities which are

necessary to the operation and maintenance of Bob Evans restaurants nationwide.




                                                23
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 24 of 80




        126.    Defendants are/were a single and joint employer with a high degree of interrelated

and unified operations, sharing common management between restaurant locations, sharing

common employees between locations, as well as sharing common human resources and payroll

services. All of Defendants’ locations share the common labor policies and practices complained

of herein.

        127.    During the statutory period covered by this Complaint Defendants collectively

owned, operated and/or otherwise controlled the Bob Evans restaurants and employed the Tipped

Employees as defined by the FLSA. 29 U.S.C. § 203(d).

                                  JURISDICTION AND VENUE

        128.    This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1331 and 29 U.S.C. § 201 et seq.

        129.    This Court has original jurisdiction over Plaintiffs’ claims under the Class Action

Fairness Act, 28 U.S.C. § 1332(d). This is a putative class action whereby: (i) the proposed Rule

23 classes consists of over 100 or more members; (ii) at least some of the members of the

proposed Rule 23 classes, including the representative Plaintiff(s) for each of the classes, have a

different citizenship from Defendant; and (iii) the claims of the proposed Rule 23 classes exceed

$5,000,000.00 in the aggregate.

        130.    Further, this Court also has supplemental jurisdiction over Plaintiffs’ state law

claims pursuant to 28 U.S.C. § 1367 because those claims derive from a common nucleus of

operative facts.

        131.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(ii) as a substantial

part of the acts or omissions giving rise to the claims alleged herein occurred within this judicial

district, and Defendants are subject to personal jurisdiction in this district.




                                                  24
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 25 of 80




          132.   This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.

§§ 2201 and 2202.

                                   FACTUAL ALLEGATIONS

          133.   The crux of the FLSA and the applicable state wage and hour laws is, inter alia,

that all employees are entitled to be paid all wages due and owing. This includes the proper

overtime wages for hours worked in excess of forty and the mandated minimum wages for all

hours worked.

          134.   Contrary to these basic protections, Plaintiffs and the members of the Classes

were deprived of all wages due and owing to them.

          135.   Plaintiffs and the members of the Classes are, or were, Tipped Employees

employed by Defendants who were an enterprise engaged in commerce that had annual gross

sales of at least $500,000.

          136.   According to the Company’s website, there are at least 500 restaurants operating

in the United States. See https://www.bobevans.com/about-us/our-company (last visited

November 20, 2018).

          137.   Defendants govern and administer each restaurant location in a virtually identical

manner so that, among other things, customers can expect and receive the same kind of customer

service regardless of the restaurant location that a customer may visit.

          138.   Indeed, Defendants represent themselves to the general public as one restaurant

chain – Bob Evans – that operates in nearly a third of the states across the country. For example,

all of Defendants’ restaurant locations use the brand name “Bob Evans” at their respective

location and each location offers the same basic array of products and services to the general

public.




                                                 25
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 26 of 80




       139.   This family of restaurants provides the same service product to its customers by

using a set formula when conducting its business.

       140.   Further, all the restaurant locations advertise together on the same website.

       141.   Upon information and belief, all of the Defendants’ locations are/were operated

under uniform policies/procedures applicable to all members of the Classes, including subjecting

Tipped Employees to the unlawful pay practices complained of herein.

       142.   Evidencing this fact, on the Company’s website, an individual is able to apply

online to any Bob Evans location. The description for “server” is identical for all of Bob Evans

locations.

       143.   Defendants’ restaurant locations can “share” Tipped Employees and said

employees can transfer from one restaurant location to another.

       144.   Moreover, Defendants share common management between restaurant locations.

For example, Defendants’ regional managers would oversee multiple restaurant locations.

       105.   Further, Defendants’ restaurants share common human resources and payroll

services. Indeed, Defendants operate the various restaurant locations from the same headquarters.

       145.   As such, the employment practices complained of herein occurred at all Bob

Evans locations nationwide as Defendants utilized common labor policies and practices at each

of their locations. Accordingly, Defendants are responsible for the employment practices

complained of herein.

PLAINTIFFS’ EXPERIENCE WORKING FOR DEFENDANTS

       146.   Plaintiffs were paid an hourly cash wage rate from Bob Evans and earned tips

from those customers who chose to leave them a gratuity.




                                               26
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 27 of 80




        147.   Plaintiffs’ hourly wage rate from Bob Evans was a subminimum wage rate as

Defendants claimed a tip credit for all their Tipped Employees. Indeed, upon information and

belief, Defendants claimed the maximum tip credit permissible for each of their Tipped

Employees irrespective of the amount of tips earned by that Tipped Employee or the type of

work he/she was performing for Defendants.

        148.   Defendants required Tipped Employees who were opening a restaurant to arrive

to arrive for work well before the restaurant opened so that they could perform the necessary

opening shift work (e.g., prepping the work station, stocking items, making coffee and iced tea,

doing any additional work that those working the closing shift did not do the night before, and

often having to stock biscuits, rolls, and other specialty breads).

        149.   Defendants required Tipped Employees who were closing a restaurant to stay well

after the restaurant closed so that they could perform a host of closing activity including cleaning

the tables, sweeping the floors, taking out trash, refilling the sugar, creamer and salt and pepper

shakers, stocking their sections with clean dishes, tearing down and cleaning the coffee, tea, and

soda machines, cleaning the area where the buns, biscuits and other specialty breads were kept,

and rolling silverware.

        150.   Plaintiffs estimate that this work took, on average, anywhere from an hour to an

hour and a half to complete. During this time, Plaintiffs did not have any opportunity to earn any

tips.

        151.   In those instances where a Tipped Employee was working neither an opening nor

a closing shift, Defendants would have these individuals “cut” or relieved of customer

responsibility towards the end of their shift. Thereafter, these “cut” Tipped Employees would be

required to perform approximately 30 minutes to 60 minutes of cleaning/break down work




                                                 27
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 28 of 80




before they could leave. Such work included, but was not limited to, breaking down and cleaning

work areas at the end of the shift.

       152.    Each Plaintiff believes they spent in excess of 20% of their time performing non-

tip generating work while working for Defendants.

       153.    Tipped Employees, including Plaintiffs, recorded their work time by logging into

Bob Evans timekeeping system through the point-of-sale (“POS”) system.

       154.    The precise amount of time Plaintiffs recorded as working each week, upon

information and belief, is maintained in Defendants’ employment and/or payroll records.

       155.    Notably, Plaintiffs were never instructed to clock in under a different job code

when performing non-tip generating work (such as set up or breakdown work at the start or end

of a shift) or when working prior to or after the restaurant opened/closed. Indeed, to the best of

each of the Plaintiffs’ knowledge, Defendants did not keep track of such time separately from

Plaintiffs’ entries into the POS system.

       156.    Importantly, none of the Plaintiffs recall being told that certain pay practices

and/or restaurant procedures only applied to them. Accordingly, upon information and belief,

each Plaintiff believes that their experience with Defendants was typical of the experience other

Tipped Employees had with Defendants regarding their pay practices and restaurant procedures.

THE TIP CREDIT PROVISION & REQUIREMENTS

FLSA Requirements

       157.    Rather than pay its Tipped Employees the applicable minimum wage (either the

applicable state minimum wage or the federal minimum wage, whichever is higher), Defendants

chose to take a tip credit and pay these employees less than the applicable minimum wage.




                                               28
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 29 of 80




       158.    As set forth herein, Defendants failed to meet applicable requirements in order to

pay its Tipped Employees utilizing a tip credit.

FLSA Notification Requirements

       159.    Under applicable law, in certain circumstances, it is permissible for an employer

to take a tip credit and pay its employees less than the mandated minimum wage, provided that

the employee’s tips received from customers plus the cash wage paid by the employer equals at

least the applicable minimum wage.7 However, in order to take advantage of these wage

provisions, the employer must meet certain strict notification requirements.

       160.    According to the Department of Labor’s (“DOL”) Fact Sheet #15: Tipped

Employees Under the Fair Labor Standards Act (FLSA) (“Fact Sheet #15”):

               the maximum tip credit that an employer can currently claim under the
               FLSA is $5.12 per hour (the minimum wage of $7.25 minus the minimum
               required cash wage of $2.13).

       161.    As is made plain in Fact Sheet #15, in order to claim a tip credit, the employer

must comply with five strict notification requirements.

       162.    First, the employer must notify the employee of the amount of the cash wage the

employer is paying the Tipped Employee and that amount must equal at least $2.13 per hour.

       163.    Second, the employer must notify the Tipped Employee of the amount the

employer is claiming as a tip credit. In accordance with the FLSA, the tip credit claimed cannot

exceed $5.12 per hour.

7
  An employer is not relieved of their duty to pay an employee wages at least equal to the
minimum wage by virtue of taking a tip credit or by virtue of the employee receiving tips from
customers in an amount in excess of the applicable minimum wage. That is, an employer in the
restaurant industry must pay the employee wages at least equal to the minimum wage or equal to
the minimum wage less the tip credit, provided the tips claimed exceed the tip credit. Under no
circumstances is the employer relieved of paying at least the minimum wage for all hours
worked, regardless of how much an employee earns in tips.



                                                   29
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 30 of 80




          164.   Third, the employer must inform the Tipped Employee that the tip credit claimed

cannot exceed the actual amount of tips received by the employee. In effect, the employer must

inform the employee that the employee must still earn the mandated minimum of $7.25 per hour

between the amount of the tip credit taken by the employer and the amount of tips earned by the

employee.

          165.   Fourth, the employer must notify the Tipped Employee that all tips received are to

be retained by the employee except for a valid tip pooling arrangement.

          166.   Finally, the Tipped Employee must be informed by the employer that the tip

credit will not apply unless the employee has been informed of these provisions.

          167.   In short, Fact Sheet #15 effectively sets forth in plain English what is required

under the regulations, including 29 C.F.R. § 531.59(b), for an employer to properly claim a tip

credit.

          168.   An employer bears the burden of showing that it has satisfied all of the

notification requirements before any tips can be credited against the employee’s hourly wage. 8 If

an employer cannot demonstrate its compliance with this notification requirement, no credit can

be taken and the employer is liable for the full minimum wage.

          169.   Further, where a tipped employee earns less in tips than the tip credit claimed, the

employer is required to make up the difference. Stated another way, if a tipped employee earns

less than $5.12 per hour in tips (the maximum tip credit permissible where the employer pays the

employee $2.13 per hour), the employer must raise that tipped employee’s hourly cash




8
  Courts have strictly construed this notification requirement. Accordingly, some courts have
held that a generic governmental poster (which is required by the DOL) does not satisfy the tip
credit notification requirement.



                                                  30
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 31 of 80




component the necessary amount above $2.13 per hour so as to ensure that the employee earns at

least $7.25 per hour – the mandated minimum wage.

FLSA Dual Jobs Requirements

       170.    The FLSA defines a “tipped employee” as any employee engaged in an

occupation in which he or she customarily and regularly receives not less than $30 a month in

tips. 29 U.S.C. § 203(t)(emphasis added).

       171.    Recognizing that tipped employees -- such as the Plaintiffs and members of the

Collective Class -- are often engaged in more than one occupation, one which customarily

receives tips and one which customarily does not, the regulations provide that when such tipped

employees are employed in “dual jobs” (one which customarily generates tips and one which

customarily does not), the employer is not entitled to take the tip credit for time spent engaged in

the non-tipped occupation. See 29 C.F.R. § 531.56.

       172.    To provide further guidance as to when an employer may be prohibited from

taking a tip credit against server wages, the United States Department of Labor (“DOL”) issued

its Field Operations Handbook (“FOH”) in 1988 which provides that an employer is not

permitted to take a tip credit against its minimum wage obligations (1) when it requires its tipped

employees to perform non-tipped work that is unrelated to the employees’ tipped occupation

(i.e., “dual jobs”) or (2) when it requires its tipped employees to perform non-tipped work that,

although related to the employees’ tipped occupation, exceeds 20 percent of the employees’ time

worked during a workweek. See FOH § 30(d)00(e).

       173.    This rule is commonly referred to as the “80/20 rule.”9



9
  Since 1988, the “20 percent rule” or “80/20 rule” as it has become known has been widely
adhered to in district courts and circuit courts throughout the nation. See See, e.g.,Marsh v. J.
Alexander’s LLC, --- F.3d ----, 2018 WL 4440364 (9th Cir. 2018) (concluding that the plaintiff


                                                31
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 32 of 80




       174.    Thus, according to long standing DOL requirements, an employer such as

Defendants must pay the full minimum wage when either the Tipped Employee is performing

non-tipped work that is (i) unrelated to the employee’s tipped occupation or (ii) non-tipped work

that, although related to the employee’s tipped occupation, exceeds 20 percent of the employee’s

time worked during a workweek.10

       175.    As set forth herein, Defendants failed to comply with certain of the FLSA’s

provisions regarding the claiming of a tip credit.

Ohio’s Requirements

       176.    Ohio mandates a higher minimum cash wage and requires employers to pay a tip-

wage of at least 50% of the applicable minimum wage per hour. Thus, under Ohio law, the

current maximum tip credit is $4.28 per hour, half of the current non-tipped minimum wage rate.

       177.    As such, an employer cannot be said to have complied with Ohio’s tip credit

notification requirements where the employer simply relies on United States Department of

stated two claims for relief under the FLSA–“first, that he is entitled to the full hourly minimum
wage for the substantial time he spent completing related but untipped tasks, defined as more
than 20% of his workweek; and second, that he is entitled to the same for time he spent on
unrelated tasks”); Driver v. Apple Illinois, LLC, 739 F.3d 1073, 1075 (7th Cir. 2014) (explaining
that when tipped employees perform “non-tipped duties” that “are unrelated to their tipped duties
… such as, in the case of restaurant servers, washing dishes, preparing food, mopping the floor,
or cleaning bathrooms, they are entitled to the full minimum wage for the time they spend at that
work”); Fast v. Applebee’s Int’l, Inc., 638 F.3d 872, 880 (8th Cir. 2011) (“employees who spend
‘substantial time’ (defined as more than 20 percent) performing related but nontipped duties
should be paid at the full minimum wage for that time”).
10
   After this suit was initially filed, the Department of Labor issued an opinion letter on
November 8, 2018 which suggests that from November 8, 2018 forward the DOL will prohibit
an employer from taking the tip credit as it relates to servers for time spent engaged in non-
tipped labor that is not performed “contemporaneously with direct customer-service duties.” See
FLSA2018-27. Notably, this opinion letter has been widely criticized and even disregarded by
courts due to its abrupt change in longstanding Department of Labor principals. See Cope v.
Let’s Eat Out, Inc., 354 F.Supp.3d 976 (W.D. Mo. January 2, 2019); Callaway v. DenOne LLC,
2019 WL 1090346 (N.D. Ohio March 8, 2019); Esry v. P.F. Chang’s China Bistro, Inc., 2019
WL 1320789 (E.D. Ark. March 22, 2019).



                                                 32
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 33 of 80




Labor mandated posters, as those posters do not explicitly identify the tip credit amount in Ohio

(as it differs from the FLSA tip credit amount).

        178.    Importantly, Courts have uniformly held that Ohio’s wage and hour law should be

interpreted in accordance with the FLSA) (citing Douglas v. Argo-Tech Corp., 113 F.3d 67 n. 2

(6th Cir.1997) (noting that Ohio’s wage and hour law “parallels the FLSA” and approaching the

Ohio law and the FLSA in a “unitary fashion” is appropriate).

Pennsylvania’s Requirements

        179.    Pennsylvania state law has a substantially similar requirement to the FLSA’s tip

notification requirements. See 43 P.S. § 333.103(d).

        180.    Importantly, however, Pennsylvania mandates a higher minimum cash wage and

requires employers to pay at least $2.83 per hour. Thus, under Pennsylvania law, the maximum

tip credit is $4.42 per hour.11

        181.    As such, an employer cannot be said to have complied with Pennsylvania’s tip

credit notification requirements where the employer simply relies on United States Department

of Labor mandated posters, as those posters do not explicitly identify the tip credit amount in

Pennsylvania (as it differs from the FLSA tip credit amount).

        182.    In addition, 34 Pa. Code § 231.34 also requires employers to maintain payroll

records that contain the following information:

                a) A symbol or letter placed on the pay records identifying each employee whose

wage is determined in part by tips;

                b) Weekly or monthly amount reported by the employee, to the employer, of tips

received. This may consist of reports made by the employees to the employer on IRS Form 4070;

11
  Like the FLSA, Pennsylvania law states that the tip credit claimed by the employer cannot
exceed the amount of tips actually received by the employee. See 43 P.S. § 333.103(d).


                                                   33
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 34 of 80




               c) Amount by which the wages of each tipped employee have been deemed to be

increased by tips, as determined by the employer, not in excess of 45% of the applicable

statutory minimum wage until January 1, 1980 and thereafter 40% of the applicable statutory

minimum wage. The amount per hour which the employer takes as a tip credit shall be reported

to the employee in writing each time it is changed from the amount per hour taken in the

preceding week;

               d) Hours worked each workday in any occupation in which the tipped employee

does not receive tips and total daily or weekly straight-time payment made by the employer for

such hours; and

               e) Hours worked each workday in occupations in which the employee received

tips and total daily or weekly straight-time earnings for the hours.

West Virginia’s Requirements

        183.   West Virginia mandates a higher minimum wage than under federal law. From

January 1, 2015 through December 31, 2015, the West Virginia minimum wage was $8.00 per

hour and since January 1, 2016, the minimum wage has been $8.75 per hour. W. Va. Code § 21-

5C-2.

        184.   For tipped employees, prior to January 1, 2015, West Virginia allowed an

employer to claim 20% of the minimum wage due as a tip credit from gratuities received by the

employee. W. Va. Code § 21-5C-4. Thus, if the minimum wage was $7.25 per hour, an employer

only had to pay a cash wage of $5.80 (assuming the employee received sufficient tips to claim

the credit). After January 1, 2015, West Virginia permits an employer to claim a credit of 70% of

the minimum wage due as a tip credit from gratuities received by the employee. Id.




                                                 34
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 35 of 80




Consequently, an employer can now pay as little as $2.62 per hour to a tipped employee

provided the employee is earning at least $6.13 per hour in tips.

       185.    Importantly, however, the employer must maintain “documentary evidence that

the employee is receiving at least seventy percent of the minimum wage in gratuities . . .” W. Va.

Code § 21-5C-4.

       186.     Indeed, the West Virginia Division of Labor states unequivocally that “[t]o

qualify for the credit, employers must ensure that the employees’ tips and the reduced hourly

wage rate equal at least the required minimum wage rate and must keep accurate records of

employees’ tips.” See https://labor.wv.gov/Wage-Hour/Minimum_Wage/Documents/MINIMUM

%20WAGE%20POSTER%20012018.pdf (last visited April 11, 2019) (emphasis added).

       187.    West Virginia State Laws mandates that when an employer “discharges an

employee, or whenever an employee quits or resigns from employment, the [employer] shall pay

the employee’s wages due for work that the employee performed prior to the separation of

employment on or before the next regular payday on which the wages would otherwise be due

and payable . . .” W. Va. Code § 21-5-4(b).

Maryland’s Requirements

       188.    Maryland State Law also maintains tip notification requirements. See Md. Code

Ann., Labor & Emp’t § 3-419(a)(1)(ii) (“This section applies to each employee who has been

informed by the employer about the provisions of this section”). Accordingly, courts in this

District have held that “the analysis of Defendants’ entitlement to claim the tip credit is the same

under the FLSA and MWHL.” Prusin v. Canton’s Pearls, LLC, No. JKB-16-0605, 2017 U.S.

Dist. LEXIS 183226, *10 (D. Md Nov. 6, 2017).




                                                35
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 36 of 80




       189.    Importantly, however, Maryland requires hourly workers such as Tipped

Employees to be paid a higher hourly wage. Effective July 1, 2018, the hourly wage in Maryland

is $10.10 per hour. For Tipped Employees, since July 1, 2014, Maryland requires employers to

pay a cash wage of at least $3.63 per hour. Thus, for each year that the minimum wage was

raised, Maryland has effectively permitted employers to take a higher tip credit amount.12

       190.    To help ensure compliance with Maryland’s wage and hour laws, Maryland’s

Department of Labor, Licensing & Regulation (“Department”) offers a number of helpful guides

and forms to the general public.

       191.    In one such brochure, the Department notes that “[i]f an employee does not earn

enough tips to meet the tip credit amount, the employer must make up the difference.”

https://www.dllr.state.md.us/forms/esstipinfobrochure.pdf (last visited January 25, 2019).

       192.    The Department also makes clear that if Tipped Employees “are from time to time

assigned to perform non-tip related tasks” they “must be paid by their employer at least the full

minimum       wage   rate   for    that   non-tipped   time.”   See   https://www.dllr.state.md.us/

labor/wagepay/wptipped.shtml (last visited January 25, 2019).

Michigan’s Requirements

       193.    Michigan state law also maintains tip notification requirements. See M.C.L. §

408.414(d).

       194.    Like the FLSA, Michigan law states that the tip credit claimed by the employer

cannot exceed the amount of tips actually received by the employee. See M.C.L. § 408.414 (d).



12
   Thus, for example, in July 2014, when the minimum wage was $7.25, employers were
permitted to claim a tip credit of $3.62 per hour. By July 2016, when the minimum wage was
$8.75, employers were permitted to claim a tip credit of $5.12 per hour ($8.75 minus the cash
wage of $3.63 equals the tip credit amount of $5.12). By July 2017, the tip credit amount had
increased to $5.62 due to the minimum wage rate now being $9.25 per hour.


                                                 36
         Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 37 of 80




          195.   Importantly, however, Michigan mandates a higher minimum cash wage and

requires employers to pay at least $3.52 per hour effective January 1, 2018.13 Thus, under

Michigan law, the maximum tip credit is $5.73 per hour.

          196.   Further, Michigan requires notice to be given in order for an employer to pay an

employee a cash wage below the full minimum wage.

          197.   Michigan law also requires an employer to keep a written, signed statement of the

amount of gratuities the employee received that week.

          198.   Courts in this District have “aggressively enforce[ed] the notice requirement” of

the tip credit provisions. McFarlin v. Word Enters., LLC, No. 16-cv-12536, 2018 U.S. Dist.

LEXIS 46212, *11 (E.D. Mich. Mar. 21, 2018) (granting plaintiff’s motion for partial summary

judgment as to the issue of whether defendants met tip notification requirements).

          199.   As such, an employer cannot be said to have complied with Michigan’s tip credit

notification requirements where the employer simply relies on United States Department of

Labor mandated posters. This is because these posters do not explicitly identify the tip credit

amount in Michigan (as it differs from the FLSA tip credit amount).

Illinois’ Requirements

          200.   The elements of an IMWL overtime claim parallel those required to sustain a

claim under FLSA. See DeMarco v. Nw. Mem'l Healthcare, 2011 WL 3510896, at *3 (N.D. Ill.

Aug. 10, 2011) (citing state and federal authority for the proposition that the IMWL and FLSA

overtime provisions are coextensive). However, unlike the FLSA, the IMWL permits recovery of

monthly-compounding statutory damages. See 820 ILCS 105/12(a). Robert House v. Ill. Bell

Tel. Co. (N.D. Ill., 2016). "[T]ip credits are treated identically" under the IMWL and FLSA) see



13
     The minimum wage rate in Michigan, as of January 1, 2018, is $9.25 per hour.


                                                37
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 38 of 80




Driver v. AppleIllinois, LLC (N.D. Ill., 2013). Illinois does not permit deductions from wages

that are not for the benefit of the employee unless made with the express written consent of the

employee, given freely at the time the deduction is made.

New York’s Requirements

       201.    New York state law maintains specific written requirements for an employer to

pay wages below the full minimum wage.

       202.    Before a New York employer can take a tip credit, they must inform the employee

in writing, in English and in the employee’s native language if not English, that the employer is

taking a tip credit and the amount of the tip credit.

       203.    Specifically, N.Y.C.R.R. §§137-2.2, 146.2-2 states that every New York

employer in the restaurant industry shall furnish to each employee a statement with every

payment of wages listing hours worked, rates paid, gross wages, allowances, if any, claimed as

part of the minimum wage, deductions and net wages.

       204.    Moreover, the NYLL, Article 6, § 195(1), requires New York employers to

provide its employees a written statement in English, or in the language identified as their

primary language, containing, inter alia,: (i) the employee’s rate or rates of pay and basis

thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other; hourly

rate or rates of pay and overtime rate or rates of pay if applicable; (ii) the regular pay day

designated by the employer; and (iii) allowances, if any, claimed as part of the minimum wage,

including tip, in accordance with NYLL, Article 6, § 191.

       205.    Further, the NYLL, Article 6, § 195(3), requires New York employers to furnish

each employee with a statement with every payment of wages, listing the following: (i) the dates

of work covered by that payment of wages; (ii) name of employee; (iii) name of employer; (iv)




                                                  38
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 39 of 80




address and phone number of employer; (v) rate or rates of pay and basis thereof, whether paid

by the hour, shift, day, week, salary, piece, commission, or other; gross wages; (vi) deductions;

(vii) allowances, if any, claimed as part of the minimum wage; and (viii) net wages.

       206.    Upon information and belief, Defendants maintained a policy and practice

whereby they failed to provide Plaintiff Willis and the other members of the NY Class with the

statutorily required notices that Defendants were paying its New York Tipped Employees the

“tipped” minimum wage rate.

DEFENDANTS’ FAILURE TO COMPLY WITH APPLICABLE WAGE LAWS

Overtime

       207.    Absent certain exceptions and exemptions not applicable here, both the FLSA and

PMWA requires all employers to pay their employees premium overtime wages at the rate of 1.5

times their regular rate of pay for all hours in excess of 40 in a workweek.

       208.    As an initial matter, when an employee works in a tipped position, an employer

must pay overtime based off the full minimum wage – and not the lower cash wage. Stated

another way, under federal law, a tipped employee’s overtime rate is 1.5 times $7.25 ($10.88)

and not 1.5 times $2.13.

       209.    Moreover, an employer cannot claim a tip credit larger than what is set forth in

the regulations and Fact Sheet #15 ($5.12 per hour). Thus, under federal law, a tipped

employee’s overtime rate is $5.76 per hour ($10.88 minus $5.12).

       210.    Further, when an employee performs work at two or more hourly job rates during

a week and exceeds the forty-hour threshold, that employee’s regular rate of pay is a

combination of those two hourly rates. Stated another way, an employer cannot unilaterally elect




                                                39
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 40 of 80




to pay an employee for overtime hours worked at the overtime rate of a lower job code, even if

the work was performed under that job code.

       211.    Indeed, it is black letter law that when an employee works, in a single workweek,

two or more different types of work where he/she receives two or more different straight-time

hourly rates, the regular rate of pay (for purposes of determining overtime compensation) is the

weighted average of such hourly rates. See, e.g., Fact Sheet #23: Overtime Pay Requirements of

the FLSA.

       212.    In the instant matter, Defendants failed to pay the proper overtime rate to Tipped

Employees who worked in excess of forty hours in a workweek.

       213.    Plaintiff McKeel’s pay record for the pay period ending November 29, 2017,

(attached in redacted form as Exhibit A) is a prime example of Defendants only paying the

Tipped Employee overtime based on the tipped job code when Tipped Employees performed

work under both a tipped job code and a non-tipped job code.14

       214.    As Exhibit A makes plain, Defendants accorded no weight to the “Regular” time

Plaintiff McKeel worked this particular pay period when calculating her overtime rate.

       215.    Defendants’ failure to pay the proper overtime rate is not limited to Plaintiff

McKeel’s experience.




14
   During this pay period, Plaintiff worked forty hours at the tipped rate of $2.83 per hour. In
addition, Plaintiff also worked 10.87 hours of overtime at the tipped overtime rate of $6.4544 per
hour. Although not provided in any detail, it also appears that Plaintiff worked additional
“Regular” time during this week and was paid $10.03 for this work. In short, Defendant did not
include this “Regular” work in the calculation of the proper overtime rate for this week. Indeed,
considering the maximum tip credit amount that could be claimed for the 10.87 hours of tipped
work is just over $48, it appears that Plaintiff was shorted $5.08 of overtime pay for this pay
period (assuming Plaintiff’s “regular” rate of pay was the full minimum wage of $7.25 per hour).


                                               40
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 41 of 80




       216.    For example, when Plaintiff Caperna incurred overtime for the pay period ending

May 23, 2018 (attached in redacted form as Exhibit B), Defendants failed to pay the full

overtime rate due and owing.

       217.    Indeed, rather than pay the appropriate amount of $5.76 per hour worked over 40,

Defendants only paid Plaintiff Caperna $5.2696 per hour of overtime worked.

       218.    Consequently, Plaintiff McKeel and Plaintiff Caperna, as well as members of the

Collective OT Class and PA OT Class, have been victims of a common policy and plan by

Defendants that has violated their rights under the FLSA and the PMWA by denying them

premium overtime wages calculated at the proper overtime rate for weeks where the Tipped

Employee worked over forty hours.

Minimum Wage Violations -- Notification

       219.    As explained above, the DOL has very specific requirements regarding what an

employer must notify his/her employee of if that employer intends to claim a tip credit.

       220.    Rather than comply with the notification requirements set forth in Fact Sheet #15

(and the corresponding regulations)15, Defendants chose to simply pay their Tipped Employees

the subminimum wage rate and claim the maximum tip credit amount permissible. In short,

Defendants failed to conform to the strict regulatory requirements necessary to satisfy the tip

credit notification provisions.

       221.    The Third Circuit and district courts across the country have held that where an

employer fails to satisfy any one of the notification requirements, including paying employees

for all hours worked, that employer forfeits the tip credit and must pay the employee the full

minimum wage.

15
   Courts in Pennsylvania look to FLSA jurisprudence when determining whether Pennsylvania’s
tip credit notification requirements have been satisfied.


                                                41
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 42 of 80




        222.     Indeed, Plaintiffs specifically do not ever recall being notified by Bob Evans that

it intended to take a “tip credit,” nor how much that amount would be.

        223.     In addition, Plaintiffs recall several instances where they earned little to no tips

and yet their hourly rate did not change. For example, Plaintiff McKeel recalls working one shift

from 4:00 p.m. to 9:00 p.m. and earned only $20 in tips total. Plaintiff McKeel recalls another

time where she was called into work, worked 45 minutes, earned a total of $3 in tips, and had to

call her mother to pick her up because she did not make enough money to put gas in her car. Yet

despite these paltry tips, Defendant still claimed the maximum tip credit of $4.42 for each of

these hours worked.

        224.     When Plaintiffs earned little to no tips, they do not ever recall Defendants

adjusting their hourly rate upwards so as to account for the low tip amount received. As set forth

above, this is in contravention of applicable wage laws regarding the tip credit provisions.

        225.     Moreover, due to the nature of Defendants’ business, Defendants were aware that

on occasion, Tipped Employees earned little to no tips. Indeed, Plaintiff McKeel recalls being

instructed to claim 10% of her sales in tips when entering said information into the POS system

at the end of her shift. This was because the manager did not like entering overrides in the

computer system, which was required every time an employee declared less than 10% of their

sales in tips.

        226.     Bob Evans also failed to comply with 43 P.S. 231.34 insofar as it failed to notify

employees in writing whenever the tip credit claimed by Defendants changed. Rather,

Defendants took the maximum tip credit permissible irrespective of whether its Tipped

Employees actually earned sufficient tips to substantiate the tip credit claimed.

Minimum Wage Violations -- “Dual Jobs”




                                                  42
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 43 of 80




       227.    Defendants violated the FLSA by enforcing a policy or practice of paying servers

sub-minimum, tip-credit wages even when they required those employees to perform non-tipped

work that is unrelated to their tipped occupation (i.e., “dual jobs”).

       228.    Defendants violated the FLSA by enforcing a policy or practice of requiring

servers to perform non-tipped work that, even if it was related to their tipped occupation,

exceeded 20 percent of their time worked in one or more individual workweeks.

       229.    Defendants violated the FLSA by enforcing a policy or practice of requiring

servers to perform non-tipped work that, even if it was related to their tipped occupation, was

required to be performed for substantial and unreasonable periods of time and not

contemporaneous to direct-service duties. For example, Defendants have required their servers to

perform non-tipped work for substantial and unreasonable periods of time prior to waiting on any

customers, after waiting on last customers, prior to the restaurants’ opening for business and

following the restaurants’ close for business.

       230.    Defendants regularly and frequently required Plaintiffs and the members of the

Collective Class to perform a number of non-tipped duties unrelated to their tipped occupations,

including but not limited to: taking out trash; scrubbing walls and doors; cleaning windows and

sills; cleaning light fixtures; cleaning computers and electronics; scrubbing sinks; scrubbing trays

and bins; sweeping and mopping floors; breaking down and cleaning booths; cleaning chairs;

washing dishes and operating the dishtank; breaking down and cleaning the server line; ensuring

the general cleanliness for the front of the house; detail cleaning throughout the restaurant;

performing general janitorial work throughout the restaurant; stocking stations throughout the

restaurant; stocking and setting tables; bussing tables; preparing carry-out orders; preparing

online orders; preparing delivery orders; answering the phone; working the cash register;




                                                 43
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 44 of 80




counting down and balancing cash drawers; greeting and seating customers; stocking and detail

cleaning the salad case; stocking and detail cleaning the steam table; preparing salads; preparing

deserts; baking bread; plating and preparing other foods away from customer tables, brewing

coffee; detail cleaning the coffee, hot chocolate, juice and soda machines; preparing specialty

drinks such as lemonades; filling and re-stocking ice bins; preparing individual servings of

butters and dressings; and rolling bins full of silverware.

       231.    Defendants regularly and frequently required Plaintiffs and the members of the

Collective Class to perform a number of non-tipped duties related to their tipped occupation,

including but not limited to: preparatory and workplace maintenance tasks such as sweeping

floors; cleaning booths; stocking stations throughout the restaurant; stocking and setting tables;

bussing tables; stocking ice; brewing coffee; preparing specialty drinks such as lemonades; and

rolling bins full of silverware. Defendants required Plaintiffs and members of the Collective

Class to perform such related but non-tipped tasks for substantial and unreasonable periods of

time and not contemporaneous to direct-service duties. Defendants required Plaintiffs and

members of the Collective Class to perform such related but non-tipped work for substantial and

unreasonable period of times prior to waiting on any customers, after waiting on last customers,

prior to the restaurants’ opening for business and following the restaurants’ close for business.

       232.    Despite performing these non-tipped duties, Defendants paid Plaintiffs and

members of the Collective Class at an hourly rate less than the full minimum wage for all hours

that Plaintiffs and members of the Collective Class worked for Defendants including the periods

during which they were performing non-tipped duties.

       233.    Further, Defendants also violated applicable Pennsylvania wage laws by requiring

Tipped Employees, including Plaintiffs Williams, Walker, and McKeel to be paid a sub-




                                                 44
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 45 of 80




minimum wage for work performed when the Tipped Employee had no opportunity to generate

tips, such as before or after the restaurant was opened/closed to the public or when the Tipped

Employee was “cut” for the evening.

       234.    In such situations, Tipped Employees performed the same basic set-up/break

down, stocking, and cleaning work that Plaintiffs detailed above. Indeed, the “server” job

description indicates that one of servers “regular” job accountabilities is to handle “food prep

equipment such as knives, coffer maker, ice tea machine, etc.” and that a physical requirement of

servers is to be able to “freely access . . . [the] stock area” of the restaurant. See

https://secure.jobappnetwork.com/apply/c_ber/l_en/Team-Member--Server-job-Phoenixville-

PA-US-2706925.html#s (last visited January 22, 2019).

       235.    At no time did Defendants have Plaintiffs or other Tipped Employees clock in

under a different code or pay these individuals the full minimum wage for time spent performing

such non-tip generating work. Instead, Defendants elected to continue to pay Plaintiffs and other

Tipped Employees the minimum cash wage and continued to claim the tip credit despite the fact

that these employees could not earn tips during this time.

       236.    Such conduct constitutes a violation of 43 P.S. 231.34 insofar as Defendants

failed to record the hours where Plaintiffs Williams, Walker, and McKeel and the other Tipped

Employee were engaged in non-tip generating work.

       237.    Because of the above violations, Defendants owe Plaintiffs and the other Tipped

Employees the full minimum wage for every hour they worked and were only paid the minimum

cash wage (and Defendants claimed the maximum tip credit for each hour worked). Thus, the

amounts due and owing are significant.

Uniform Deductions




                                                45
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 46 of 80




          238.   It is a violation of 820 ILCS 115/9 for an employer to deduct uniform costs from

wages unless the deduction is made with the express written consent of the employee, freely

given at the time the deduction is made.

          239.   By deducting uniform costs from Illinois Plaintiff and the IL IWPCA classes

wages without their express written consent at the time the deductions were made, Defendants

violated the IWPCA.

                      CLASS & COLLECTIVE ACTION ALLEGATIONS

          240.   Plaintiffs bring this action on behalf of the Collective Class and Collective OT

Class as a collective action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 207 and

216(b).

          241.   Plaintiffs McKeel and Caperna also bring this action on behalf of the Collective

OT Class as a collective action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 207 and

216(b).

          242.   Plaintiff Bailey brings this action as a class action pursuant to Fed. R. Civ. P. 23

on behalf of herself and the OH Class for claims under OH State Laws.

          243.   Plaintiff Bailey also brings this action as a class action pursuant to Fed. R. Civ. P.

23 on behalf of herself and the OH OT Class for claims under OH State Laws.

          244.   Plaintiffs Williams, Walker, and McKeel also bring this action as a class action

pursuant to Fed. R. Civ. P. 23 on behalf of themselves and the PA Class for claims under the PA

State Laws.

          245.   Plaintiff McKeel also brings this action as a class action pursuant to Fed. R. Civ.

P. 23 on behalf of herself and the PA OT Class for claims under the PA State Laws.




                                                  46
         Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 47 of 80




         246.   Plaintiffs Jensen and Rash also bring this action as a class action pursuant to

Fed. R. Civ. P. 23 on behalf of herself and the WV Class for claims under the WV State Laws,

specifically, the WVWPCA.

         247.   Plaintiff Ratcliff also brings this action as a class action pursuant to Fed. R. Civ.

P. 23 on behalf of herself and the WV Class for claims under the WV State Laws, specifically,

the WVMWMHS.

         248.   Plaintiffs Hutton and Leo also bring this action as a class action pursuant to Fed.

R. Civ. P. 23 on behalf of themselves and the MD Class for claims under the MD State Laws.

         249.   Plaintiff Peabody also brings this action as a class action pursuant to Fed. R. Civ.

P. 23 on behalf of herself and the MI Class for claims under the MI State Law.

         250.   Plaintiff Woodworth also brings this action as a class action pursuant to Fed. R.

Civ. P. 23 on behalf of himself and the IL Class for claims under IL State Laws.

         251.   Plaintiff Willis also brings this action as a class action pursuant to Fed. R. Civ. P.

23 on behalf of herself and the NY Class for claims under the NY State Laws.

         252.   The claims under the FLSA may be pursued by those who opt-in to this case

pursuant to 29 U.S.C. §216(b).

         253.   The claims brought pursuant to the OH State Laws, PA State Laws, WV State

Law, MD State Laws, MI State Law, IL State Laws, and NY State Laws may be pursued by all

similarly-situated persons who do not opt-out of their respective class pursuant to Fed. R. Civ.

P. 23.

         254.   Upon information and belief, the members of each of the Classes are so numerous

that joinder of all members is impracticable. While the exact number of the members of these

Classes is unknown to Plaintiffs at this time, and can only be ascertained through appropriate




                                                 47
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 48 of 80




discovery, given that Bob Evans operates over 500 restaurants nationwide and their extensive

presence in each of the states comprising the Rule 23 classes, there are likely thousands of

individuals in each of the Classes.

       255.    Defendants have acted or have refused to act on grounds generally applicable to

the Classes, thereby making final injunctive relief or corresponding declaratory relief with

respect to the Classes as a whole, appropriate.

       256.    The claims of Plaintiffs are typical of the claims of the Classes they seek to

represent. Plaintiffs and the members of the Classes work or have worked for Defendants and

were subject to the same compensation policies and practices.

       257.    Common questions of law and fact exist as to the Classes that predominate over

any questions only affecting Plaintiffs individually and include, but are not limited to, the

following:

               a) whether Defendants have failed to pay the full minimum wage for each hour

worked;

               b) whether Defendants satisfied each of the requirements in order to claim a tip

credit against each hour worked;

               c) whether Defendants were precluded from claiming the tip credit during the

period encompassed by this Complaint;

               d) whether Defendants properly calculated the overtime wages of their Tipped

Employees; and

               e) whether Plaintiffs and members of the Classes are entitled to compensatory

damages, and if so, the means of measuring such damages.




                                                  48
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 49 of 80




       258.    Plaintiffs will fairly and adequately protect the interests of the Classes as their

interests are aligned with those of the members of the Classes. Each of the Plaintiffs has no

interests adverse to the Classes they seek to represent and has retained competent and

experienced counsel.

       259.    The class action/collective action mechanism is superior to other available

methods for a fair and efficient adjudication of the controversy. The damages suffered by

individual members of the Classes may be relatively small when compared to the expense and

burden of litigation, making it virtually impossible for members of the Classes to individually

seek redress for the wrongs done to them.

       260.    Plaintiffs and the Classes they seek to represent have suffered and will continue to

suffer irreparable damage from the illegal policy, practice and custom regarding Defendants’ pay

practices.

       261.    Defendants have violated and, continue to violate, the FLSA, 29 U.S.C. §§ 201 et

seq. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA within the

meaning of 29 U.S.C. § 255(a) and willful violation of OH State Laws, PA State Laws, WV

State Law, MD State Laws, MI State Law, IL State Laws and NY State Laws.

                           FIRST CLAIM FOR RELIEF16
             FAIR LABOR STANDARDS ACT MINIMUM WAGE VIOLATIONS
                          (On Behalf of the Collective Class)

       262.    Plaintiffs, on behalf of themselves and the Collective Class, realleges and

incorporates by reference the paragraphs above as if they were set forth again herein.

       263.    At all relevant times, Defendants have had gross revenues in excess of $500,000.




16
  FLSA “Tip Credit Notice” claim as originally alleged against all Defendants on January 24,
2019, in McKeel, Case No. 2:19-cv-00082 at ECF #1.


                                                49
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 50 of 80




          264.   At all relevant times, Defendants have been and continue to be, an employer

engaged in interstate commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and

207(a).

          265.   At all relevant times, Defendants have employed, and/or continue to employ,

Plaintiffs and each of the Collective Class Members within the meaning of the FLSA.

          266.   Pursuant to Defendants’ compensation policies, rather than pay Tipped

Employees the federally-mandated minimum wage, Defendants took a tip credit and paid Tipped

Employees only the tip-credit wage.

          267.   Defendants have violated and, continue to violate, the FLSA, 29 U.S.C. §§ 201 et

seq. The foregoing conduct, as alleged, constitutes willful violations of the FLSA within the

meaning of 29 U.S.C. § 255(a).

          268.   Due to Defendants’ FLSA violations, Plaintiffs, on behalf of themselves and the

members of the Collective Class, are entitled to recover from the Defendants, compensation for

unpaid wages; an additional equal amount as liquidated damages; and reasonable attorneys’ fees

and costs and disbursements of this action, pursuant to 29 U.S.C. § 216(b).

          269.   Because Defendants' violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. § 255.

                          SECOND CLAIM FOR RELIEF17
             FAIR LABOR STANDARDS ACT MINIMUM WAGE VIOLATIONS
                          (On Behalf of the Collective Class)

          270.   Plaintiffs, on behalf of themselves and the Collective Class, reallege and

incorporate by reference the paragraphs above as if they were set forth again herein.

17
  FLSA “Unrelated Duties” claim as originally raised against Defendants’ Bob Evans
Restaurants, LLC and Bob Evans Farms, Inc. on October 10, 2018 in Williams, Case No. 2:18-
01353 at ECF #1; and as raised against Defendant Bob Evans Farms, LLC on April 22, 2019
following the consolidation of Williams and McKeel, at ECF ##57, 60.


                                                 50
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 51 of 80




       271.    Defendants failed and/or refused to comply with the FLSA, 29 U.S.C. § 201, et

seq., 29 C.F.R. § 531.56(e), and the Department of Labor Field Operations Handbook §30d00(e)

and §30d00(f) by requiring Plaintiffs and the Collective Members in a given workweek, and

during each and every workweek Plaintiffs and the Collective Members were employed by

Defendants, to perform non-tipped labor unrelated to their tipped occupation over the course of

their regular workweek, while paying Plaintiffs and the Collective Members at the tip credit rate.

Examples of such non-tipped labor unrelated to the primary duties of the tipped occupation of

server include, but are not limited to taking out trash; scrubbing walls and doors; cleaning

windows and sills; cleaning light fixtures; cleaning computers and electronics; scrubbing sinks;

scrubbing trays and bins; sweeping and mopping floors; breaking down and cleaning booths;

cleaning chairs; washing dishes and operating the dishtank; breaking down and cleaning the

server line; ensuring the general cleanliness for the front of the house; detail cleaning throughout

the restaurant; performing general janitorial work throughout the restaurant; stocking stations

throughout the restaurant; stocking and setting tables; bussing tables; preparing carry-out orders;

preparing online orders; preparing delivery orders; answering the phone; working the cash

register; counting down and balancing cash drawers; greeting and seating customers; stocking

and detail cleaning the salad case; stocking and detail cleaning the steam table; preparing salads;

preparing deserts; baking bread; plating and preparing other foods away from customer tables,

brewing coffee; detail cleaning the coffee, hot chocolate, juice and soda machines; preparing

specialty drinks such as lemonades; filling and re-stocking ice bins; preparing individual servings

of butters and dressings; and rolling bins full of silverware.

       272.    Due to Defendants’ FLSA violations, Plaintiffs, on behalf of themselves and the

members of the Collective Class, are entitled to recover from the Defendants, compensation for




                                                 51
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 52 of 80




unpaid wages; an additional equal amount as liquidated damages; and reasonable attorneys’ fees

and costs and disbursements of this action, pursuant to 29 U.S.C. § 216(b).

       273.    Because Defendants’ violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. § 255.

                         THIRD CLAIM FOR RELIEF18
           FAIR LABOR STANDARDS ACT MINIMUM WAGE VIOLATIONS
                        (On Behalf of the Collective Class)

       274.    Plaintiffs, on behalf of themselves and the Collective Class, reallege and

incorporate by reference the paragraphs above as if they were set forth again herein.

       275.    Defendants failed and/or refused to comply with the FLSA, 29 U.S.C. § 201, et

seq., 29 C.F.R. § 531.56(e), and the Department of Labor Field Operations Handbook §30d00(e)

and §30d00(f) by requiring Plaintiffs and the members of the Collective Class in a given

workweek, and during each and every workweek Plaintiffs and the members of the Collective

Class were employed by Defendants, to perform non-tipped labor related to their tipped

occupation for substantial and unreasonable amounts of time in excess of twenty percent (20%)

of their regular workweek, and at times that are not contemporaneous to direct-service duties,

while paying Plaintiffs and the members of the Collective Class at the tip credit rate. Examples

of such non-tipped labor related to their tipped occupation of servers include, but are not limited

to, preparatory and workplace maintenance tasks such as sweeping floors; cleaning booths;

stocking stations throughout the restaurant; stocking and setting tables; bussing tables; stocking

ice; brewing coffee; preparing specialty drinks such as lemonades; and rolling bins full of

silverware.

18
  FLSA “Related Duties” claim as originally raised against Defendants Bob Evans Restaurants,
LLC and Bob Evans Farms, Inc. on October 10, 2018 in Williams, Case No. 2:18-01353 at ECF
#1; and as raised against Defendant Bob Evans Farms, LLC on April 22, 2019 following the
consolidation of Williams and McKeel, at ECF ##57, 60.


                                                 52
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 53 of 80




          276.   Defendants required Plaintiffs and the members of the Collective Class to perform

such related but non-tipped work for substantial and unreasonable period of times prior to

waiting on any customers, after waiting on last customers, prior to the restaurants’ opening for

business and following the restaurants’ close for business.

          277.   Defendants failed and/or refused to pay Plaintiffs and the members of the

Collective Class the full applicable minimum wage according to the provisions of the FLSA for

time they spent performing non-tipped labor related to their tipped occupation, despite requiring

them to perform such work in excess of twenty percent (20%) of a given workweek, for each and

every workweek that Plaintiffs and the members of the Collective Class were employed by

Defendants, in violation of 29 U.S.C. § 206(a).

          278.   Due to Defendants’ FLSA violations, Plaintiffs, on behalf of themselves and the

members of the Collective Class, are entitled to recover from the Defendants, compensation for

unpaid wages; an additional equal amount as liquidated damages; and reasonable attorneys’ fees

and costs and disbursements of this action, pursuant to 29 U.S.C. § 216(b).

          279.   Because Defendants’ violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. § 255.

                          FOURTH CLAIM FOR RELIEF19
             FAIR LABOR STANDARDS ACT MINIMUM WAGE VIOLATIONS
                         (On Behalf of the Collective OT Class)

          280.   Plaintiffs McKeel and Caperna, on behalf of themselves and the Collective OT

Class, reallege and incorporate by reference the paragraphs above as if they were set forth again

herein.




19
 FLSA Overtime claim as originally alleged against all Defendants on January 24, 2019, in
McKeel, Case No. 2:19-cv-00082 at ECF #1.


                                                  53
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 54 of 80




       281.    Defendants have engaged in a widespread pattern, policy, and practice of

violating the FLSA, as detailed herein.

       282.    The overtime wage provisions set forth in the FLSA, 29 U.S.C. §§ 201 et seq.,

and the supporting federal regulations, apply to Defendants and protect Plaintiffs McKeel and

Caperna and the members of the Collective OT Class.

       283.    At all relevant times, Plaintiffs McKeel and Caperna and the members of the

Collective OT Class were employed by an entity engaged in commerce and/or the production or

sale of goods for commerce within the meaning of 29 U.S.C. §§ 203(e), (m), and 206(a), and/or

they were engaged in commerce and/or the production or sale of goods for commerce within the

meaning of 29 U.S.C. § 203(e), (r), and (s).

       284.    At all relevant times, Plaintiffs McKeel and Caperna and the members of the

Collective OT Class were employees of Defendants within the meaning of 29 U.S.C. § 203(e).

       285.    At all relevant times, Defendants have been an enterprise engaged in commerce

and/or the production of goods for commerce within the meaning of 29 U.S.C. § 203(e), (r), and

(s) with annual gross volume of sales made or business done in excess of $500,000.00.

       286.    At all relevant times, Defendants employed Plaintiffs McKeel and Caperna and

the members of the Collective OT Class within the meaning of 29 U.S.C. § 203(g).

       287.    As stated above, Defendants had a policy and practice of failing to pay the proper

overtime rate to Tipped Employees who worked in excess of forty (40) hours per week.

       288.    Defendants’ failure to pay Plaintiffs McKeel and Caperna and all other members

of the Collective OT Class the proper overtime compensation due and owing is a violation of 29

U.S.C. §§ 206, 207.




                                               54
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 55 of 80




       289.    In violating the FLSA, Defendants acted willfully and with disregard of clearly

applicable FLSA provisions. The foregoing conduct, as alleged, constitutes a willful violation of

the FLSA within the meaning 29 U.S.C. § 255(a).

       290.    Due to the Defendants’ FLSA violations, Plaintiffs McKeel and Caperna and the

members of the Collective OT Class are entitled to recover from Defendants their unpaid

overtime compensation, an additional equal amount as liquidated damages, reasonable attorneys’

fees, and costs and disbursements of this action, pursuant to 29 U.S.C. § 216(b).

       291.    Because Defendants' violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. § 255.

                             FIFTH CLAIM FOR RELIEF20
            OHIO MINIMUM WAGE ACT– MINIMUM WAGE VIOLATIONS
                          (On Behalf of the OH Class)

       292.    Plaintiff Bailey, on behalf of herself and the members of the OH Class, realleges

and incorporates by reference the paragraphs above as if they were set forth again herein.

       293.    At all relevant times, Bob Evans has employed, and/or continues to employ,

Plaintiff Bailey and each of the OH Class Members within the meaning of the Ohio Constitution

and the Ohio MFWSA.

       294.    Pursuant to Bob Evans’ compensation policies, rather than pay Tipped Employees

the Ohio mandated minimum wage, Bob Evans improperly took a tip credit and paid Tipped

Employees at a rate well below the Ohio minimum wage.

       295.    At relevant times in the period encompassed by this Complaint, Defendants had a

willful policy and practice of failing to satisfy the notification requirements in order for

Defendants to claim the tip credit.

20
  Ohio Class claims as originally alleged against all Defendants on March 23, 2019 in Jensen,
Case No. 2:19-cv-00921 at ECF #1.


                                                 55
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 56 of 80




          296.   In addition, at relevant times in the period encompassed by this Complaint,

Defendants had a willful policy and practice of failing to pay the full minimum wage for time

spent by Plaintiff Bailey and members of the OH Class performing non-tip generating work.

          297.   As a result of Defendants’ willful practices, Defendants were not entitled to claim

the tip credit and pay Plaintiff and the members of the OH Class less than the Ohio minimum

wage for all hours worked.

          298.   Due to the Defendants’ violations, Plaintiff Bailey, on behalf of herself and the

members of the OH Class, are entitled to recover from Defendants the amount of unpaid

minimum wages, attorneys’ fees and costs.

                          SIXTH CLAIM FOR RELIEF21
             OHIO MINIMUM WAGE ACT– MINIMUM WAGE VIOLATIONS
                         (On Behalf of the OH OT Class)

          299.   Plaintiff Bailey, on behalf of herself and the members of the OH OT Class,

realleges and incorporates by reference the paragraphs above as if they were set forth again

herein.

          300.   At all relevant times, Plaintiff Bailey and the members of the OH OT Class were

“Employees” and Defendants were their “Employer” within the meaning of the Ohio

Constitution and the Ohio MFWSA.

          301.   The MFWSA provides that employees who work over 40 hours in a workweek

shall receive a wage rate of “one and one-half times the employees wage rate for hours worked

in excess of forty hours in one workweek.” O.R.C. 4111.03.




21
 Ohio Class claims as originally alleged against all Defendants on March 23, 2019 in Jensen,
Case No. 2:19-cv-00921 at ECF #1.


                                                 56
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 57 of 80




       302.    Defendants violated the MFWSA by failing to pay Plaintiff Bailey and the

members of the OH OT Class the legally mandated hourly overtime premium for hours worked

over forty in a workweek.

       303.    In violating the MFWSA and the Ohio Constitution, Defendants acted willfully

and with disregard of clearly applicable PMWA provisions.

       304.    Pursuant to the MFWSA and the Ohio Constitution Plaintiff Bailey and the

members of the OH OT Class are entitled to recover from Defendants an amount treble the

overtime compensation for all the hours worked in excess of forty hours in a work week for

which they did not receive the proper overtime compensation, in an amount to be proven at trial,

together with costs and reasonable attorneys’ fees.

                    SEVENTH CLAIM FOR RELIEF22
     PENNSYLVANIA MINIMUM WAGE ACT– MINIMUM WAGE VIOLATIONS
                       (On Behalf of the PA Class)

       305.    Plaintiffs Williams, Walker, and McKeel, on behalf of themselves and the

members of the PA Class, reallege and incorporate by reference the paragraphs above as if they

were set forth again herein.

       306.    At all relevant times, Bob Evans has employed, and/or continues to employ,

Plaintiffs Williams, Walker, and McKeel and each of the PA Class Members within the meaning

of the PMWA.

       307.    Pursuant to Bob Evans’ compensation policies, rather than pay Tipped Employees

the Pennsylvania mandated minimum wage, Bob Evans improperly took a tip credit and paid

Tipped Employees at a rate well below the Pennsylvania minimum wage.




22
  PA Class claims as originally alleged against all Defendants on January 24, 2019, in McKeel,
Case No. 2:19-cv-00082 at ECF #1.


                                                57
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 58 of 80




       308.    Pursuant to Defendants’ compensation policies, rather than pay Tipped

Employees the required minimum wage in Pennsylvania, Defendants took a tip credit and paid

Tipped Employees only the tip-credit wage.

       309.    At relevant times in the period encompassed by this Complaint, Defendants had a

willful policy and practice of failing to satisfy the notification requirements in order for

Defendants to claim the tip credit.

       310.    In addition, at relevant times in the period encompassed by this Complaint,

Defendants had a willful policy and practice of failing to pay the full minimum wage for time

spent by Plaintiffs Williams, Walker, and McKeel and members of the PA Class performing non-

tip generating work.

       311.    As a result of Defendants’ willful practices, Defendants were not entitled to claim

the tip credit and pay Plaintiff and the members of the PA Class less than the Pennsylvania

minimum wage for all hours worked.

       312.    Defendants have violated and, continue to violate, the PMWA, 43 Pa. C.S.C. §

333.101 et seq.

       313.    Due to the Defendants’ violations, Plaintiffs Williams, Walker, and McKeel, on

behalf of themselves and the members of the PA Class, are entitled to recover from Defendants

the amount of unpaid minimum wages, attorneys’ fees and costs.

                           EIGHTH CLAIM FOR RELIEF23
                  PENNSYLVANIA WAGE PAYMENT COLLECTION LAW
                              (On Behalf of the PA Class)




23
  PA Class claims as originally alleged against all Defendants on January 24, 2019, in McKeel,
Case No. 2:19-cv-00082 at ECF #1.


                                               58
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 59 of 80




       314.    Plaintiffs Williams, Walker, and McKeel, on behalf of themselves and the

members of the PA Class, reallege and incorporate by reference the paragraphs above as if they

were set forth again herein.

       315.    At all relevant times, Defendants have employed, and/or continues to employ,

Plaintiffs Williams, Walker, and McKeel and each of the PA Class Members within the meaning

of the WPCL.

       316.    Pursuant to the WPCL, 43 Pa. S. § 260.1 et seq. Plaintiffs Williams, Walker, and

McKeel and the members of the PA Class were entitled to receive all compensation due and

owing to them on their regular payday.

       317.    As a result of Defendants’ unlawful policies, Plaintiffs Williams, Walker, and

McKeel and the members of the PA Class have been deprived of compensation due and owing.

       318.    In paying Plaintiffs Williams, Walker, and McKeel and Tipped Employees the tip

credit wage, Defendants effectively agreed that Plaintiff and Tipped Employees were to be paid

minimum wage.

       319.    Indeed, it is black letter law that an employee cannot voluntarily agree or contract

to be paid less than the legal minimum wage for each hour worked. Accordingly, at a minimum,

an employee must contract to be paid at least the minimum wage for each hour worked. Through

the practices described above, Defendants paid Plaintiffs Williams, Walker, and McKeel and

other Tipped Employees less than what they were effectively bound to pay -- the legal minimum

wage for each hour worked.

       320.    Plaintiffs Williams, Walker, and McKeel, on behalf of themselves and the

members of the PA Class, are entitled to recover from Defendants the amount of unpaid




                                                59
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 60 of 80




compensation, and an additional amount of 25% of the unpaid compensation as liquidated

damages.

                      NINTH CLAIM FOR RELIEF24
     PENNSYLVANIA MINIMUM WAGE ACT– MINIMUM WAGE VIOLATIONS
                      (On Behalf of the PA OT Class)

          321.   Plaintiff McKeel, on behalf of herself and the members of the PA OT Class,

realleges and incorporates by reference the paragraphs above as if they were set forth again

herein.

          322.   At all relevant times, Plaintiff McKeel and the members of the PA OT Class were

“Employees” and Defendants were their “Employer” within the meaning of the PMWA.

          323.   The PMWA provides that employees who work over 40 hours in a workweek

shall receive “1½ times such employee’s regular hourly wage for each hour of working time in

excess of 40 hours in any week.” 43 P.S. § 333.104(c).

          324.   Defendants violated the PMWA by failing to pay Plaintiff McKeel and the

members of the PA OT Class the legally mandated hourly overtime premium for hours worked

over forty in a workweek.

          325.   In violating the PMWA, Defendants acted willfully and with disregard of clearly

applicable PMWA provisions.

          326.   Pursuant to the PMWA, 43 P.S. § 333.113 Plaintiff McKeel and the members of

the PA OT Class are entitled to recover from Defendants an amount equal to unpaid overtime

compensation for all the hours worked in excess of forty hours in a work week for which they

did not receive the proper overtime compensation, in an amount to be proven at trial, together

with interest, costs and reasonable attorneys’ fees.

24
  PA Class claims as originally alleged against all Defendants on January 24, 2019, in McKeel,
Case No. 2:19-cv-00082 at ECF #1.


                                                 60
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 61 of 80




                             TENTH CLAIM FOR RELIEF25
                 WEST VIRGINIA WAGE PAYMENT AND COLLECTION ACT
                               (On Behalf of the WV Class)

          327.    Plaintiffs Jensen and Rash, on behalf of themselves and the members of the WV

Class, reallege and incorporate by reference the paragraphs above as if they were set forth again

herein.

          328.    At all relevant times, Plaintiffs Jensen and Rash and the members of the WV

Class were “Employees” and Defendants were their “Employer” within the meaning of the

WVWPCA.

          329.    Further, at all relevant times, Defendants employed six or more employees in any

one separate, distinct and permanent location during a calendar week, thereby making them

subject to the minimum wage requirements set forth in W. Va. Code § 21-5C.

          330.    The WVWPCA provides that employees are entitled to all wages due and owing

to them upon their separation with their employer “on or before the next regular payday” that the

employee would otherwise receive their paycheck had they not been separated. W. Va. Code §

21-5-4(b).

          331.    Defendants violated the WVWPCA by failing to timely pay Plaintiffs L. Williams

and Ratcliff and the members of the WSV Class all wages owed to them within the time periods

mandated by the WVWPCA for employees pursuant to W. Va. Code § 21-5-4(b).

          332.    Pursuant to the WVWPCA, Plaintiffs Jensen and Rash and the members of the

WV Class are entitled to recover from Defendants an amount equal to unpaid wages due, plus

two times the amount of unpaid wages as liquidated damages. W. Va. Code § 21-5-4(e).




25
  WV Class as claims originally alleged against all Defendants on March 23, 2019 in Jensen,
Case No. 2:19-cv-00921 at ECF #1.


                                                 61
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 62 of 80




                       ELEVENTH CLAIM FOR RELIEF26
     WEST VIRGINIA MINIMUM WAGE AND MAXIMUM STANDARDS VIOLATION
                        (On Behalf of the WV MW Class)

        333.    Plaintiffs Jensen and Rash, on behalf of themselves and the members of the WV

MW Class, realleges and incorporate by reference the paragraphs above as if they were set forth

again herein.

        334.    At all relevant times, Plaintiffs Jensen and Rash and the members of the WV MW

Class were “Employees” and Defendants were their “Employer” within the meaning of the

WVMWMHS.

        335.    Further, at all relevant times, Defendants employed six or more employees in any

one separate, distinct and permanent location during a calendar week, thereby making them

subject to the minimum wage requirements set forth in W. Va. Code § 21-5C.

        336.    The WVMWMHS requires that an employer who wishes to utilize the tip credit in

West Virginia ensure that their tipped employees are receiving at least the amount claimed as a

tip credit per hour. See W. Va. Code § 21-5C-4.

        337.    Moreover, an employee cannot voluntarily agree to be paid an improper

subminimum wage for one period of time on the expectation that they will earn sufficient tips in

another period of time to offset the initial low paying time period.

        338.    As the MVMWMHS makes plain, “an agreement by an employee to work for less

than the applicable wage rate is hereby declared by the legislature of West Virginia to be against

public policy and unenforceable.” W. Va. Code § 21-5C-8(a).




26
  WV Class claims as originally alleged against all Defendants on March 23, 2019 in Jensen,
Case No. 2:19-cv-00921 at ECF #1.


                                                 62
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 63 of 80




        339.    Defendants violated the WVMWMHS by failing to ensure that Plaintiffs Jensen

and Rash and the members of the WV MW Class received sufficient gratuities in order to

properly claim the tip credit taken.

        340.    Pursuant to the WVMWMHS, Plaintiffs Jensen and Rash and the members of the

WV MW Class are entitled to recover from Defendants an amount equal to unpaid wages due.

W. Va. Code § 21-5C-8.

        341.    In addition, Plaintiffs Jensen and Rash and the members of the WV MW Class

are entitled to recover from Defendants costs and reasonable attorneys’ fees. W. Va. Code § 21-

5C-8.

                           TWELTH CLAIM FOR RELIEF27
                       MARYLAND MINIMUM WAGE VIOLATIONS
                           (On Behalf of the MD State Class)

        342.    Plaintiffs Hutton and Leo, on behalf of themselves and the members of the MD

State Class, reallege and incorporate by reference the paragraphs above as if they were set forth

again herein.

        343.    At all relevant times, Plaintiffs Hutton and Leo and the MD State Class were

“Employees” and Defendants was their “Employer” within the meaning of the MWHL.

        344.    At all relevant times, Defendants have employed, and/or continues to employ,

Plaintiffs Hutton and Leo and each of member of the MD State Class within the meaning of the

MWHL.

        345.    Defendants were obligated to pay Plaintiffs Hutton and Leo and the members of

the MD State Class at least the minimum wage for each hour worked, pursuant to § 3-413 of the

MWHL.

27
  MD Class claims as originally alleged against all Defendants on April 22, 2019 following the
consolidation of Williams and McKeel, at ECF ##57, 60.


                                               63
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 64 of 80




        346.    Pursuant to Bob Evans’ compensation policies, rather than pay Tipped Employees

the Maryland mandated minimum wage, Defendants improperly took a tip credit and only paid a

tip credit wage. The result of this conduct was that Tipped Employees were paid at a rate below

the Maryland minimum wage.

        347.    At relevant times in the period encompassed by this Complaint, Defendants had a

willful policy and practice of failing to satisfy the notification requirements set forth in § 3-419

of the MWHL in order for Defendants to claim the tip credit.

        348.    In addition, at relevant times in the period encompassed by this Complaint,

Defendants had a willful policy and practice of failing to pay the full minimum wage for time

spent by Plaintiffs Hutton and Leo and members of the MD Class performing non-tip generating

work.

        349.    As a result of Defendants’ willful practices, Bob Evans was not entitled to claim

the tip credit and pay Plaintiffs Hutton and Leo and the members of the MD State Class less than

the Maryland minimum wage for all hours worked.

        350.    Due to the Defendants’ violations, Plaintiffs Hutton and Leo, on behalf of

themselves and the members of the MD State Class, are entitled to recover from Defendants the

amount of unpaid minimum wages, attorneys’ fees, and costs.

                   THIRTEENTH CLAIM FOR RELIEF28
        MARYLAND WAGE PAYMENT AND COLLECTION LAW VIOLATIONS
                     (On Behalf of the MD State Class)

        351.    Plaintiffs Hutton and Leo, on behalf of themselves and the members of the MD

State Class, reallege and incorporate by reference the paragraphs above as if they were set forth

again herein.

28
  MD Class claims as originally alleged against all Defendants on April 22, 2019 following the
consolidation of Williams and McKeel, at ECF ##57, 60.


                                                64
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 65 of 80




       352.   The MWPCL provides in relevant part:

              Each employer:

                     (i)     Shall set regular pay periods; and

                     (ii)    Except as provided in paragraph (2) of this subsection, shall
                             pay each employee at least once in every 2 weeks or twice
                             in each month.

Md. Code Ann., Labor & Employment, §3-502.

       353.   Plaintiffs Hutton and Leo and members of the MD State Class are/were

employees of Defendants within the meaning of the MWPCL and, as such, are entitled to timely

payment of wages due to them.

       354.   Defendants are employers within the meaning of the MWPCL.

       355.   More than two weeks have elapsed from the date on which Defendants were

required to have paid the wages owed to the Plaintiffs Hutton and Leo and to the MD State Class

members for all hours of work and the full minimum wage due and owing for each hour worked.

Defendant has no bona fide reason for withholding the wages owed to Plaintiffs Hutton and Leo

and to the MD State Class members.

       356.   Further, Md. Code Ann., Labor & Employment, §3-505 requires an employer to

pay an employee “all wages due for work that the employee performed before the termination of

employment, on or before the day on which the employee would have been paid the wages if the

employment had not been terminated.”

       357.   Plaintiffs Hutton and Leo and members of the MD State Class who ceased

employment with Defendants more than two weeks ago are entitled to unpaid compensation, but

to date have not received such compensation.




                                               65
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 66 of 80




       358.    Pursuant to Md. Code Ann., Labor & Employment, §3-507.2, due to the

Defendants’ violations set forth above, Plaintiffs Hutton and Leo, on behalf of themselves and

the members of the MD State Class, are entitled to recover three times the unpaid wages,

attorneys’ fees and costs.

                        FOURTEENTH CLAIM FOR RELIEF29
                       MWOWA – MINIMUM WAGE VIOLATIONS
                            (On Behalf of the MI Class)

       359.    Plaintiff Peabody, on behalf of herself and the members of the MI Class, realleges

and incorporates by reference the paragraphs above as if they were set forth again herein.

       360.    At all relevant times, Defendants have employed, and/or continue to employ,

Plaintiff Peabody and each of the MI Class Members within the meaning of the MWOWA.

       361.    Pursuant to Bob Evans’s compensation policies, rather than pay Tipped

Employees the Michigan mandated minimum wage, Defendants improperly took a tip credit and

only paid a tip credit wage. The result of this conduct was that Tipped Employees were paid at a

rate below the Michigan minimum wage.

       362.    At relevant times in the period encompassed by this Complaint, Defendants had a

willful policy and practice of failing to satisfy the notification requirements in order for

Defendants to claim the tip credit.

       363.    As a result of Defendants’ willful practices, Defendants were not entitled to claim

the tip credit and pay Plaintiff Peabody and the members of the MI Class less than the Michigan

minimum wage for all hours worked.

       364.    Defendants have violated and, continue to violate, the Michigan Workforce

Opportunity Wage Act.

29
  MI Class claims as originally alleged against all Defendants on April 22, 2019 following the
consolidation of Williams and McKeel, at ECF ##57, 60.


                                               66
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 67 of 80




          365.   Due to the Defendants’ violations, Plaintiff Peabody, on behalf of herself and the

members of the MI Class, are entitled to recover from Defendants the amount of unpaid

minimum wages; an additional equal amount as liquidated damages; and attorneys’ fees and

costs.

                              FIFTEENTH CLAIM FOR RELIEF30
                        VIOLATIONS OF IL STATE LAWS – Minimum Wage Violations
                                   (On Behalf of the IL Class)

          366.   Plaintiff Woodworth, on behalf of himself and the members of the IL Class,

realleges and incorporates by reference the paragraphs above as if they were set forth again

herein.

          367.   At all relevant times, Defendants have employed, and/or continue to employ,

Plaintiff Woodworth and each of the IL Class Members within the meaning of the IMWL.

          368.   Pursuant to Bob Evans’ compensation policies, rather than pay Tipped Employees

the Illinois mandated minimum wage, Defendants improperly took a tip credit and only paid a tip

credit wage. The result of this conduct was that Tipped Employees were paid at a rate below the

Illinois minimum wage.

          369.   At relevant times in the period encompassed by this Complaint, Defendants had a

willful policy and practice of failing to satisfy the notification requirements in order for

Defendants to claim the tip credit.

          370.   As a result of Defendants’ willful practices, Defendants were not entitled to claim

the tip credit and pay Plaintiff Woodworth and the members of the IL Class less than the Illinois

minimum wage for all hours worked.

          371.   Defendants have violated and, continue to violate Illinois Minimum Wage Law.



30
     As alleged against all Defendants upon the filing of this Master Complaint.


                                                  67
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 68 of 80




          372.    Due to the Defendants’ violations, Plaintiff Woodworth, on behalf of himself and

the members of the IL Class, are entitled to recover from Defendants the amount of unpaid

minimum wages; an additional equal to twice the amount of unpaid minimum wages as well as

5% of the amount of the underpayment for each month following the date of payment during

which such underpayments remain unpaid as liquidated damages; and attorneys’ fees and costs.

                             SIXTEENTH CLAIM FOR RELIEF31
                 ILLINOIS MINIMUM WAGE LAW– OVERTIME VIOLATIONS
                               (On Behalf of the IL OT Class)

          373.    Plaintiff Woodworth, on behalf of himself and the members of the IL OT Class,

realleges and incorporates by reference the paragraphs above as if they were set forth again

herein.

          374.    At all relevant times, Plaintiff Woodworth and the members of the IL OT Class

were “Employees” and Defendants were their “Employer” within the meaning of the IMWL.

          375.    The IMWL provides that employees who work over 40 hours in a workweek shall

receive “compensation for his employment in excess above at a rate not less than 1 ½ times the

regular rate.” (820 ILCS 105/4a.)

          376.    Defendants violated the IMWL by failing to pay Plaintiff Woodworth and the

members of the IL OT Class the legally mandated hourly overtime premium for hours worked

over forty in a workweek.

          377.    In violating the IMWL, Defendants acted willfully and with disregard of clearly

applicable IMWL provisions.

          378.    Pursuant to the IMWL, Plaintiff Woodworth and the members of the IL OT Class

are entitled to recover from Defendants an amount treble the overtime compensation and 5% of



31
     As alleged against all Defendants upon the filing of this Master Complaint.


                                                  68
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 69 of 80




the amount of the underpayment for each month following the date of payment during which

such underpayments remain unpaid for all the hours worked in excess of forty hours in a work

week for which they did not receive the proper overtime compensation, in an amount to be

proven at trial, together with costs and reasonable attorneys’ fees.

                      SEVENTEENTH CLAIM FOR RELIEF32
     ILLINOIS WAGE PAYMENT AND COLLECTION ACT–ILLEGAL DEDUCTIONS
                        (On Behalf of the IL IWPCA Class)

          379.   Plaintiff Woodworth, on behalf of himself and the members of the IL OT Class,

realleges and incorporates by reference the paragraphs above as if they were set forth again

herein.

          380.   At all relevant times, Plaintiff Woodworth and the members of the IL IWPCA

Class were “Employees” and Defendants were their “Employer” within the meaning of the

IWPCA.

          381.   This Count arises from Defendants’ practice of making unlawful deductions from

the wages of Plaintiff Woodworth and the IL IWPCA Class.

          382.   During the course of his employment, Plaintiff had an agreement within the

meaning of the IWPCA to be compensated for all hours worked at an agreed upon rate.

          383.   Other similarly situated employees likewise had an agreement within the meaning

of the IWPCA to be compensated for all hours worked at an agreed upon rate.

          384.   Defendants had a practice of making unlawful deductions from Plaintiff

Woodworth’s and the IL IWPCA Class’s earned wages without authorization from Plaintiff

Woodworth and the IL IWPCA Class in writing as required by the IWPCA. Such deductions: (a)

were not required by law; (b) were not to Plaintiffs’ benefit; (c) were not in response to a valid



32
     As alleged against all Defendants upon the filing of this Master Complaint.


                                                 69
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 70 of 80




wage assignment or wage deduction order; and (d) were not made with the express written

consent of Plaintiffs, given freely at the time the deductions were made.

       385.    Defendants likewise had a practice of making unlawful deductions from members

of the IL IWPCA Class without their authorization.

       386.    Defendants’ practice of making unlawful deductions from the earned wages of

Plaintiff Woodworth and the IL IWPCA Class violated the IWPCA.

       387.    Plaintiff and the IL IWPCA Class are entitled to recover all the unlawful

deductions made from their earned wages for a period of ten (10) years prior to the filing of this

lawsuit. See 73 ILCS 5/13-206.

       388.    As a result of Defendants’ violations of the IWPCA, Plaintiff Woodworth and the

IL IWPCA Class, are entitled to unpaid wages and unlawful deductions, statutory damages

provided under the IWPCA, reasonable attorneys’ fees, and costs.


                       EIGHTEENTH CLAIM FOR RELIEF33
              VIOLATIONS OF NY STATE LAWS – Minimum Wage Violations
                            (On Behalf of the NY Class)

       389.     Plaintiff Willis, on behalf of herself and the members of the NY Class, re-alleges

and incorporates by reference the paragraphs above as if they were set forth again herein.

       390.    At all relevant times, Defendants have employed, and/or continue to employ,

Plaintiff Willis and each member of the NY Class within the meaning of the NY State Laws.

       391.    This count arises from Defendants’ willful violation of the NYLL, New York

Minimum Wage Act, Article 19, § 650 et seq., for Defendants’ failure to pay Plaintiff Willis and

the members of the NY Class their earned minimum wages. Plaintiff Willis and the members of


33
  NY Class claims as originally alleged against all Defendants on April 22, 2019 following the
consolidation of Williams and McKeel, at ECF ##57, 60.


                                                70
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 71 of 80




the NY Class are current and former Tipped Employees of Defendants who are due, and who

have not been paid, minimum wages under the provisions of the NYLL.

        392.   As set forth above, Defendants have a policy or practice of paying Plaintiff Willis

and the members of the NY Class subminimum wages.

        393.   Defendants paid Plaintiff Willis and the members of the NY Class these wages

even though they perform jobs that are not within the scope of the “Food service worker”

definition under the NYLL or associated regulations.

        394.   For example, Defendants’ policy is to pay Plaintiff Willis and the members of the

NY Class subminimum wages even though they are performing jobs unrelated to their tipped

jobs.

        395.   Additionally, Defendants’ policy is to pay Plaintiff Willis and the members of the

NY Class subminimum wages even on days in which they spend more than 20% of their work

day performing non-tipped occupations, and during workweeks that they spend more than 20%

of the workweek performing non-tipped occupations.

        396.   Further, Defendants’ policy is to pay Plaintiff Willis and the members of the NY

Class subminimum wages even on days in which the Plaintiffs are assigned to work in an

occupation in which tips are not customarily received.

        397.   As set forth in detail above, Defendants regularly require Plaintiff Willis and the

members of the NY Class to perform such jobs as food preparation and general restaurant

cleaning, but continued to pay these individuals subminimum wages while they are engaged in

those jobs.

        398.   Defendants also failed to provide written notice of the tip credit or allowance to

Plaintiff Willis and the members of the NY Class as required under New York State law.




                                               71
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 72 of 80




       399.   At all relevant times, Defendants did not comply with NYLL’s tip credit

provision and the supporting New York State Department of Labor Regulations, including, but

not limited to 12 N.Y.C.R.R. §137-2.2 and 146.2-2.

       400.   Moreover, Defendants failed to provide Plaintiff Willis and the members of the

NY Class with wage statements that complied with the requirements of NYLL. For example,

Plaintiff Willis was not given wage statements that listed allowances claimed by Defendants,

including the tip credit, as required by NYLL § 195(3) as amended by the New York Wage Theft

Prevention Act.

       401.   Accordingly, Defendants are not entitled to pay Plaintiff Willis and the members

of the NY Class subminimum wages under NYLL.

       402.   Because Defendants never paid Plaintiff Willis and the members of the NY Class

more than the subminimum wage rate in any week (and instead paid them only at the lower tip

credit rate for all time worked), in each week in which Plaintiff Willis and the members of the

NY Class did work at the improper tip credit rate, the average of that Tipped Employee’s wages

for that week necessarily falls below the minimum wage for that week.

       403.   Further, Plaintiff Willis and the members of the NY Class suffered this loss of

wages in virtually every week in which they worked for the Defendants. This is true because

Defendants consistently assigned the non-tipped tasks to Plaintiff Willis and the members of the

NY Class on every shift, or almost every shift, which they worked. Therefore, such violations

occurred in each workweek in which Plaintiff Willis and the members of the NY Class worked.

       404.   Therefore, over the course of a workweek, Plaintiff Willis and the members of the

NY Class were performing non-tip credit work at improper, lower, tip credit rates and never




                                              72
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 73 of 80




receiving sufficient compensation from Defendants over the course of the week to enable the

class members’ compensation to reach the average minimum hourly wage for that week.

       405.    Due to the Defendants’ violations, Plaintiff Willis, on behalf of herself and the

members of the NY Class, are entitled to recover from Defendants the amount of unpaid

minimum wages, plus penalties and prejudgment interest as allowed by NY State Laws.

                    NINETEENTH CLAIM FOR RELIEF34
     VIOLATIONS OF NY STATE LAWS – Failure To Provide Annual Wage Notices
                        (On Behalf of the NY Class)

       406.    Plaintiff Willis, on behalf of herself and the members of the NY Class, re-alleges

and incorporates by reference the paragraphs above as if they were set forth again herein.

       407.    At all relevant times, Defendants have employed, and/or continue to employ,

Plaintiff Willis and each member of the NY Class within the meaning of the NY State Laws.

       408.    Defendants have willfully failed to supply Plaintiff Willis and each member of the

NY Class with wage notices, as required by the NYLL, Article 6, § 195(1), in English or in the

language identified as their primary language, containing Plaintiff Willis’ and each member of

the NY Class rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

salary, piece, commission, or other; hourly rate or rates of pay and overtime rate or rates of pay if

applicable; the regular pay day designated by the employer in accordance with NYLL, Article 6,

§ 191; the name of the employer; any “doing business as” names used by the employer; the

physical address of the employer’s main office or principal place of business, and a mailing

address if different; the telephone number of the employer; plus such other information as the

commissioner deems material and necessary.



34
  NY Class claims as originally alleged against all Defendants on April 22, 2019 following the
consolidation of Williams and McKeel, at ECF ##57, 60.


                                                 73
         Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 74 of 80




         409.   Through their knowing or intentional failure to provide Plaintiff Willis and each

member of the NY Class with the wage notices required by the NYLL, Defendants have willfully

violated NYLL, Article 6, §§ 190, et seq., and the supporting New York State Department of

Labor Regulations.

         410.   Due to Defendants’ willful violations of NYLL, Article 6, § 195(1), Plaintiff

Willis and each member of the NY Class are entitled to statutory penalties of $50 for each

workday that Defendants failed to provide them with wage notices, or up to a total of $5,000,

reasonable attorneys’ fees, costs, and injunctive and declaratory relief, as provided for by the

NYLL, Article 6, § 198(1-b).

                      TWENTIETH CLAIM FOR RELIEF35
     VIOLATIONS OF NY STATE LAWS – Failure To Provide Accurate Wage Statements
                          (On Behalf of the NY Class)

         411.   Plaintiff Willis, on behalf of herself and the members of the NY Class, re-alleges

and incorporates by reference the paragraphs above as if they were set forth again herein.

         412.   At all relevant times, Defendants have employed, and/or continues to employ,

Plaintiff Willis and each member of the NY Class within the meaning of the NY State Laws.

         413.   Defendants have willfully failed to supply Plaintiff Willis and each member of the

NY Class with accurate statements of wages as required by the NYLL, Article 6, § 195(3),

containing the dates of work covered by that payment of wages; name of employee; name of

employer; address and phone number of employer; rate or rates of pay and basis thereof, whether

paid by the hour, shift, day, week, salary, piece, commission, or other; gross wages; hourly rate

or rates of pay and overtime rate or rates of pay if applicable; the number of hours worked,

including overtime hours worked if applicable; deductions; and net wages.
35
  NY Class claims as originally alleged against all Defendants on April 22, 2019 following the
consolidation of Williams and McKeel, at ECF ##57, 60.


                                                74
          Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 75 of 80




          414.   Through their knowing or intentional failure to provide Plaintiff Willis and each

member of the NY Class with the accurate wage statements required by the NYLL, Defendants

have willfully violated NYLL, Article 6, §§ 190, et seq., and the supporting New York State

Department of Labor Regulations.

          415.   Due to Defendants’ willful violations of NYLL, Article 6, § 195(3), Plaintiff

Willis and each member of the NY Class are entitled to statutory penalties of $250 for each

workweek that Defendants failed to provide them with accurate wage statements, or a total of up

to $5,000, reasonable attorneys’ fees, costs, and injunctive and declaratory relief, as provided for

by the NYLL, Article 6, § 198(1-d).

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, individually and/or on behalf of herself and all other

similarly situated members of the Classes respectfully requests the Court grant the following

relief:

          A.     Designation of this action as a collective action on behalf of the Collective Class

and the Collective OT Class, and prompt issuance of notice pursuant to 29 U.S.C. §216(b),

apprising them of the pendency of this action, and permitting them to assert timely FLSA claims

in this action by filing individual Consents to Sue pursuant to 29 U.S.C. §216(b);

          B.     Designation of the action as a class action under F.R.C.P. 23 on behalf of the OH

Class, the OH OT Class, PA Class, the PA OT Class, the WV Class, the MD Class, the MI Class,

the IL Class, the IL OT Class, the IL IWPCA Class, and the NY Class;

          C.     Designation of Plaintiffs as representatives of the Collective Class;

          D.     Designation of Plaintiffs McKeel and Caperna as representatives of the Collective

OT Class;

          E.     Designation of Plaintiff Bailey as representative of the OH Class;


                                                  75
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 76 of 80




       F.      Designation of Plaintiff Bailey as representative of the OH OT Class;

       G.      Designation of Plaintiffs Williams, Walker, and McKeel as representatives of the

PA Class;

       H.      Designation of Plaintiff McKeel as representative of the PA OT Class;

       I.      Designation of Plaintiffs Jensen and Rash as representatives of the WV Class;

       J.      Designation of Plaintiffs Jensen and Rash as representative of the WV MW Class;

       K.      Designation of Plaintiffs Hutton and Leo as representatives of the MD Class;

       L.      Designation of Plaintiff Peabody as representative of the MI Class;

       M.      Designation of Plaintiff Woodworth as representative of the IL Class;

       N.      Designation of Plaintiff Woodworth as representative of the IL OT Class;

       O.      Designation of Plaintiff Woodworth as representative of the IL IWPCA Class;

       P.      Designation of Plaintiff Willis as representative of the NY Class;

       Q.      Designation of Plaintiffs’ counsel as class counsel for the Classes;

       R.      A declaratory judgment that the practices complained of herein are unlawful

under the FLSA, OH State Laws, PA State Laws, WV State Laws, MD State Laws, MI State

Law, IL State Laws, and NY State Laws;

       S.      An injunction against Defendants and their officers, agents, successors,

employees, representatives and any and all persons acting in concert with it, as provided by law,

from engaging in each of the unlawful practices, policies and patterns set forth herein;

       T.      An award of unpaid minimum wages to Plaintiffs and the members of the

Collective Class;

       U.      An award of unpaid overtime wages to Plaintiffs McKeel and Caperna and the

members of the Collective OT Class;




                                                76
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 77 of 80




       V.       An award of unpaid minimum wages to Plaintiff Bailey and the OH Class;

       W.       An award of unpaid overtime wages to Plaintiff Bailey and the members of the

OH OT Class;

       X.       An award of unpaid minimum wages to Plaintiffs Williams, Walker, and McKeel

and the members of the PA Class;

       Y.       An award of unpaid overtime wages to Plaintiff McKeel and the members of the

PA OT Class;

       Z.       An award of unpaid minimum wages to Plaintiffs Jensen and Rash and the

members of the WV Class;

       AA.      An award of unpaid minimum wages to Plaintiffs Jensen and Rash and the

members of the WV MW Class;

       BB.      An award of unpaid minimum wages to Plaintiffs Hutton and Leo and the

members of the MD Class;

       CC.      An award of unpaid minimum wages to Plaintiff Peabody and the members of the

MI Class;

       DD.      An award of unpaid minimum wages to Plaintiff Woodworth and the members of

the IL Class;

       EE.      An award of unpaid overtime wages to Plaintiff Woodworth and the members of

the IL OT Class;

       FF.      An award of unauthorized deductions to Plaintiff Woodworth and the members of

the IL IWPCA Class;

       GG.      An award of unpaid minimum wages to Plaintiff Willis and the members of the

NY Class;




                                              77
        Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 78 of 80




        HH.      An award of liquidated damages to Plaintiffs and members of the Classes;

        II.      Pre-judgment interest and post-judgment interest;

        JJ.      An award of costs and expenses of this action together with reasonable attorneys’

and expert fees to Plaintiffs and members of the Classes; and

        KK.      Such other and further relief as this Court deems just and proper.

                                     DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a jury

trial as to all issues so triable.


Dated: November 20, 2019                         Respectfully submitted,

                                                 CARLSON LYNCH KILPELA &
                                                 CARPENTER, LLP

                                                 By: /s/ Gary F. Lynch
                                                 Gary F. Lynch (PA ID# 56887)
                                                 1133 Penn Ave, 5th Floor
                                                 Pittsburgh, PA 15222
                                                 Telephone: 412-322-9243
                                                 Facsimile: 412-231-0246
                                                 Email: glynch@carlsonlynch.com

                                                 THE LAW OFFICES OF SIMON & SIMON
                                                 James L. Simon (OH No. 0089483)
                                                 6000 Freedom Square Dr.
                                                 Independence, OH 44131
                                                 Telephone: 216- 525-8890
                                                 Facsimile: 216-642-5814
                                                 Email: jameslsimonlaw@yahoo.com

                                                Co-Lead Counsel for Plaintiffs and the
                                                Proposed Classes


                                               THE LAW OFFICE OF MICHAEL L. FRADIN
                                               Michael L. Fradin (pro hac vice forthcoming)

                                               8401 Crawford Avenue, Suite 104
                                               Skokie, Illinois 60076


                                                  78
Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 79 of 80




                             Phone: 847-644-3425
                             Facsimile: 847-673-1228
                             mike@fradinlaw.com


                             THE LAZZARO LAW FIRM, LLC
                             Anthony J. Lazzaro (0077962)
                             Chastity L. Christy (0076977)
                             Lori M. Griffin (0085241)

                             The Heritage Building, Suite 250
                             34555 Chagrin Boulevard
                             Moreland Hills, Ohio 44022
                             Phone: 216-696-5000
                             Facsimile: 216-696-7005
                             anthony@lazzarolawfirm.com
                             chastity@lazzarolawfirm.com
                             lori@lazzarolawfirm.com


                              CONNOLLY WELLS & GRAY, LLP
                              Gerald D. Wells, III (admitted pro hac vice)
                              Robert J. Gray
                              2200 Renaissance Blvd., Suite 275
                              King of Prussia, PA 19406
                              Telephone: 610-822-3700
                              Facsimile: 610-822-3800
                              Email: gwells@cwglaw.com
                                     rgray@cwglaw.com

                              BENDAU & BENDAU PLLC
                              Clifford P. Bendau, II (admitted pro hac vice)
                              Christopher J. Bendau (pro hac vice forthcoming)
                              P.O. Box 97066
                              Phoenix, Arizona 85060
                              Telephone: 480-382-5176
                              Facsimile: 480-304-3805
                              Email: cliffordbendau@bendaulaw.com
                                     chris@bendaulaw.com

                              Counsel for Plaintiffs and the
                              Proposed Classes




                               79
       Case 2:18-cv-01353-WSH Document 130 Filed 11/20/19 Page 80 of 80




                               CERTIFICATE OF SERVICE

       A true and complete copy of the forgoing was served upon all necessary parties through
the Court’s Electronic Case Filing system on this 20th day of November, 2019.

/s/ James L. Simon




                                              80
